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 Deloitte Financial Advisory Services LLP
 555 12th Street NW Suite 400
 Washington, DC 20004-1207
 Telephone: 202.220.2120
 Facsimile: 855.405.2590
 Steven Stanton

 Financial Advisory Services Provider

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

      FIRST INTERIM FEE APPLICATION OF DELOITTE FINANCIAL ADVISORY
        SERVICES LLP FOR COMPENSATION FOR SERVICES RENDERED AND
       REIMBURSEMENT OF EXPENSES INCURRED AS FINANCIAL ADVISORY
             SERVICES PROVIDER TO THE DEBTORS FOR THE PERIOD
                 FROM MARCH 29, 2017 THROUGH JULY 31, 2017
 Name of Applicant:                                                    Deloitte Financial Advisory Services LLP
 Authorized to Provide Services as:                                    Financial Advisory Services Provider
 Date of Retention:                                                    Nunc Pro Tunc to March 29, 2017
 Period for which Compensation and                                     March 29, 2017 through July 31, 2017
 Reimbursement is Sought:
 Amount of Compensation Sought as                                                                          $287,130.35
 Actual, Reasonable, and Necessary:
 Amount of Expense Reimbursement Sought:                                                                     $12,290.08
 Total Amount of Fees and Expense
 Reimbursement Sought as Actual, Reasonable
                                                                                                            $299,420.43
 and Necessary (100%):
 This is (a)n: ____ monthly _X_ interim ___ final application

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone
 & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc.
 (2348), WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services
 Inc. (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining,
 LLC (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC
 Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company
 LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                      PRIOR MONTHLY FEE STATEMENTS FILED

                                     Amounts              Amounts Approved/        Holdback
                                     Requested             Pending Approval        Amounts
 Date Filed      Period           Fees     Expenses        Fees      Expenses        Fees
 Docket No.     Covered                                   (80%)       (100%)        (20%)

 9/8/2017       3/29/17 –
                          $212,481.70       $8,073.53 $169,985.36    $8,073.53     $42,496.34
  #1333         6/30/17
 9/14/2017      7/01/17 –
                             $74,130.35     $4,216.55   $59,718.92 $12,290.08      $14,929.73
   #1362        7/31/17

  Totals                    $287,130.35   $12,290.08 $229,704.28 $12,290.08        $57,426.07




                            CUMULATIVE TIME SUMMARY
                   For the Period of March 29, 2017 through July 31, 2017

                                                   Total       Hourly
   Name                      Position                                       Total Fees
                                                   Hours        Rate
   Collins, Bryan            Partner/Principal       8.00          $592        $4,736.00
   Larson, Jen               Partner/Principal       1.90          $513          $974.70
   Minars, Scott             Partner/Principal      82.40          $592       $48,780.80
   Sturiale, Lisa            Partner/Principal       2.30          $592        $1,361.60
   Cohen, Mark               Managing Director      35.00          $592       $20,720.00
   Cohen, Mark               Managing Director           8          296        $2,368.00
   Donohue, Alycia           Managing Director       1.00          $592          $592.00
   Johnston, Josh            Managing Director       7.90          $592        $4,676.80
   Sasso, Anthony            Managing Director      32.30          $592       $19,121.60
   Sasso, Anthony            Managing Director           7          296        $2,072.00
   Stanton, Steven           Managing Director      23.90          $592       $14,148.80
   Larson, Jen               Sr. Manager            15.90          $513        $8,156.70
   Stafford, Ted             Sr. Manager            75.70          $513       $38,834.10
   Stafford, Ted             Sr. Manager             17.1         256.5        $4,386.15
   Strahle, Robert           Sr. Manager            19.70          $513       $10,106.10
   McGonigle, David          Manager                94.80          $473       $44,840.40
   Cooper, Carla             Sr. Consultant         32.70          $350       $11,445.00
   Letts, Joshua             Sr. Consultant          4.10          $340        $1,394.00
   Sakuma, Takeru            Sr. Consultant         20.60          $406        $8,363.60
   Hommen, Kelly             Consultant              8.50          $340        $2,890.00
   Letts, Joshua             Consultant            109.30          $340       $37,162.00
   Total Fees                                         608.10                $287,130.35

  Average Billing Rate: $472.17



                                             2
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                   CUMULATIVE FEES BY CATEGORY SUMMARY
                   For the Period of March 29, 2017 through July 31, 2017



   Project Categories                                Total Hours              Total Fees
   Accounting Consultative Services                         42.80            $23,290.80
   Dispute Consulting                                       13.20             $7,814.40
   Firm Retention                                            6.00             $2,838.00
   Litigation                                              412.50           $194,114.20
   Non-Working Travel                                       32.10             $8,826.15
   Preparation of Fee Applications                          48.90            $19,107.60
   Project Bluefin - Post Closing                           47.60            $28,179.20
   Tax Consultative Services                                 5.00             $2,960.00
   Total Fees                                              608.10           $287,130.35




                                             3
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                         CUMULATIVE EXPENSE SUMMARY
                   For the Period of March 29, 2017 through July 31, 2017

   Description                                                                Amount

   Airfare                                                                   $6,502.01
   Ground Transportation                                                     $3,013.12
   Hotel                                                                     $2,189.58
   Internet Access while Traveling                                             $16.00
   Meals                                                                      $558.74
   Telephone, Conference                                                       $10.63

   Grand Total                                                              $12,290.08




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al.,  1
                                                                 | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
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       FIRST INTERIM FEE APPLICATION OF DELOITTE FINANCIAL ADVISORY
         SERVICES LLP FOR COMPENSATION FOR SERVICES RENDERED AND
        REIMBURSEMENT OF EXPENSES INCURRED AS FINANCIAL ADVISORY
              SERVICES PROVIDER TO THE DEBTORS FOR THE PERIOD
                  FROM MARCH 29, 2017 THROUGH JULY 31, 2017

           Deloitte Financial Advisory Services LLP (“Deloitte FAS” or the “Applicant”), Financial
 Advisory Services Provider to the above-captioned debtors and debtors-in-possession (collectively,
 the “Debtors”) in these chapter 11 cases, hereby seeks allowance of compensation and
 reimbursement of expenses pursuant to sections 330 and 331 of title 11 of the United States Code
 (the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure (the
 “Bankruptcy Rules”), and rule 2016-1 of the Local Rules of the United States Bankruptcy Court
 for the Southern District of New York (the “Local Rules”), for the period commencing March 29,
 2017 through and including July 31, 2017 (the “Application Period”). In support of this fee
 application (the “Application”), Deloitte FAS respectfully represents as follows:

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone
 & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348),
 WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
 (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC
 (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC
 Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company
 LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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                                         JURISDICTION

        1.      The Court has subject matter jurisdiction to consider and determine this matter

 pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

 Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                      STATUTORY BASIS

        2.      The statutory predicates for the relief requested herein are: (i) sections 330 and 331

 of the Bankruptcy Code; (ii) rule 2016 of the Bankruptcy Rules; (iii) rule 2016-1 of the Local

 Rules; and (iv) the Compensation Order (as defined below). This Application has been prepared

 in accordance with General Order M-447, Amended Guidelines for Fees and Disbursements for

 Professionals in Southern District of New York Bankruptcy Cases, effective as of February 5, 2013

 (the “Local Guidelines”), and the United States Trustee Guidelines for Reviewing Applications for

 Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330, effective January

 30, 1996 (the “UST Guidelines” and, together with the Local Guidelines, the “Guidelines”).

 Pursuant to the Guidelines, a certification regarding compliance with the Guidelines is attached

 hereto as Exhibit C.

                                         BACKGROUND

        A. General Background

        3.      On March 29, 2017 (the “Petition Date”), each of the Debtors commenced a voluntary

 case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to operate their

 business and manage their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been

 appoint in these chapter 11 cases.

        4.      The Debtors’ cases are being jointly administered pursuant to Bankruptcy Rule

 1015(b).




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           B. Interim Compensation and the Retention of DTBA

           5.    On May 24, 2017, the Court entered the Order Pursuant to 11 U.S.C. §§ 105(a),

 330, 331, Fed. R. Bankr. P. 2016, and Local Rule 2016-1 Establishing Procedures for Interim

 Compensation and Reimbursement of Expenses of Professionals [Docket No. 544] (the

 “Compensation Order”). Pursuant to the terms of the Compensation Order, retained professionals

 are authorized, among other things, to submit monthly invoices to the Debtors, attorneys for the

 Debtors, attorneys for the DIP Lenders, attorneys for the statutory unsecured claimholders’

 committee, and the United States Trustee (collectively, the “Notice Parties”).

           6.    On August 11, 2017, the Debtors filed the Application of Debtors Pursuant to 11

 U.S.C. §§ 327(a) and 328, Fed. R. Bankr. P. 2014(a) and 2016, and Local Rules 2014-1 and 2016-

 1 for Authority to Employ and Retain Deloitte Financial Advisory Services LLP as Financial

 Advisory Services Provider to the Debtors Nunc Pro Tunc to the Petition Date [Docket No. 1129]

 (the “Retention Application”).
           7.    On September 5, 2017, the Court approved the Retention Application and Deloitte

 FAS’s retention as financial advisory services provider to the Debtors nunc pro tunc to the Petition

 Date [Docket No. 1299] (the “Retention Order”).

                               PRIOR FEE STATEMENTS FILED

           8.    On September 8, 2017, Deloitte FAS filed its first monthly fee statement for interim

 allowance and payment of compensation in the amount of $212,481.70 and reimbursement of

 expenses in the amount of $8,073.53 for the period from March 29, 2017 through June 30, 2017

 [Docket No. 1333] (the “First Monthly Statement Period”) pursuant to the Compensation Order,

 requesting payment for 80% of fees and 100% of expenses for the First Monthly Statement Period.

           9.    On September 14, 2017, Deloitte FAS filed its second monthly fee statement for

 interim allowance and payment of compensation in the amount of $74,648.65 and reimbursement

 of expenses in the amount of $4,216.55 for the period from July 1, 2017 through July 31, 2017

 [Docket No. 1362] (the “Second Monthly Statement Period”) pursuant to the Compensation Order,

 requesting payment for 80% of fees and 100% of expenses for the Second Monthly Statement

 Period.


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                                      RELIEF REQUESTED

        10.      By this Application and pursuant to the terms and conditions set forth in the

 Engagement Letter (as defined in the Retention Application), Deloitte FAS requests compensation

 of 100% of its total fees in the amount of $287,130.35 during the Application Period. Deloitte

 FAS also seeks reimbursement of its actual and necessary expenses incurred during the

 Application Period in the amount of $12,290.08, for a total requested compensation of fees and

 expenses of $299,420.43.      Deloitte FAS submits this Application in accordance with the

 Compensation Order and the Retention Order. All services for which Deloitte FAS requests

 compensation were performed for, or on behalf of, the Debtors.

                                           BASIS FOR RELIEF

        11.     This Application is the first interim fee application submitted by Deloitte FAS in

 these cases. By this Application, Deloitte FAS requests the approval of fees in the amount of

 $287,130.35 incurred during the Application Period. The Applicant maintains computerized

 records of the time expended in the rendering of the professional services required by the Debtors.

 These records are maintained in the ordinary course of the Applicant’s business. A detailed

 statement of hours spent rendering professional services to the Debtors, in support of Deloitte

 FAS’s request of compensation for fees incurred during the Application Period, is attached hereto

 as Exhibit A. Exhibit A (i) identifies the professionals and paraprofessionals that rendered services

 in each project category; and (ii) describes each service such professional or paraprofessional

 performed.

        12.     Deloitte FAS also maintains computerized records of all expenses incurred in

 connection with the performance of professional services. By this Application, Deloitte FAS also

 seeks expense reimbursement of $12,290.08. A summary of actual and necessary expenses

 incurred by Deloitte FAS is attached hereto as Exhibit B. Deloitte FAS does not charge for

 photocopying, out-going facsimile transmissions, or long distance telephone calls on faxes.

 Deloitte FAS customarily charges for conference call expenses.




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        13.      The monthly statements submitted by the Applicant for the First Monthly

 Statement Period and the Second Monthly Statement Period are subject to a 20% holdback as

 provided for in the Compensation Order. The aggregate amount of the Applicant’s holdback

 during the Application Period is $57,426.07. Deloitte FAS respectfully requests, in connection

 with the relief requested herein, that the Court allow this holdback amount on an interim basis

 pursuant to sections 330 and 331 of the Bankruptcy Code and authorize the Debtors to satisfy such

 amounts.

        14.      No agreement or understanding exists between Deloitte FAS and any nonaffiliated

 or unrelated person or persons for the sharing of compensation received or to be received for

 professional services rendered in or in connection with these cases.

                           DECRIPTION OF SERVICES RENDERED

        15.      Deloitte FAS served or advised the Debtors in the following areas throughout the

 Application Period. Detailed descriptions of these services, the amount of fees incurred, and the

 amount of hours spent providing services throughout the Application Period are also provided in

 the attached Exhibits.

 Accounting Consultative Services

 Hours 42.80, Amount $23,290.80

        •     During the Application Period, Deloitte FAS advised the Debtors regarding accounting

              matters in connection with the purchase of Stone & Webster.

 Dispute Consulting

 Hours 13.20, Amount $7,814.40

        •     During the Application Period, Deloitte FAS advised the Debtors in analyzing

              accounting, financial and construction cost information in connection with a dispute

              with Chicago Bridge & Iron related to its sale of Stone & Webster to the Debtors.




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 Firm Retention

 Hours 6.0, Amount $2,838.00

        •     During the Application Period, Deloitte FAS incurred time analyzing the pre-petition

              fees and expenses incurred by the Debtors and Deloitte FAS’s employment retention

              procedures, and preparing Deloitte FAS’s employment application and declaration in

              support thereof.

 Litigation

 Hours 412.50, Amount $194,114.20

        •     During the Application Period, Deloitte FAS advised the Debtors in analyzing financial

              information and other data in connection with the purchase price adjustment between

              Westinghouse Electric Company and Chicago Bridge & Iron related to the acquisition

              of outstanding equity interest of CB&I Stone & Webster Inc.

 Project Bluefin – Post Closing

 Hours 47.60, Amount $28,179.20

        •     During the Application Period, Deloitte FAS advised Debtors in connection with post-

              closing accounting for the purchase of Stone & Webster.

 Tax Consultative Services

 Hours 5.00, Amount $2,960.00

        •     During the Application Period, Deloitte FAS advised Debtors in connection with tax

              matters related to the purchase of Stone & Webster.

 Preparation of Fee Applications

 Hours 48.90, Amount $19,107.60

        •     During the Application Period, Deloitte FAS professionals analyzed the time charged

              by both professional level and category and prepared the monthly fee statements, in

              accordance with the Compensation Order.


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 Non-Working Travel

 Hours 32.10, Amount $8,826.15

          •     During the Application Period, Deloitte FAS professionals traveled from their respective

                residences to Dallas, TX to attend meetings with the Debtors.2

                              ALLOWANCE OF COMPENSATION AND
                               ACTUAL AND NECESSARY EXPENSES

          A. Compensation Sought

          16.       Because of the benefits realized by the Debtors, the nature of services provided, the

 amount of work done, the time consumed and the skill required, Deloitte FAS requests that it be

 allowed, on an interim basis, compensation for the professional services rendered during the

 Application Period in the sum of $287,130.35.

          17.       During the Application Period, allowance of compensation in the amount requested

 would result in a blended hourly billing rate for professionals of approximately $472.17. The fees

 charged by Deloitte FAS in these cases are billed in accordance with its existing billing structure

 and procedures in effect during the Application Period.

          18.       Deloitte FAS respectfully submits that the professional services rendered by

 Deloitte FAS on behalf of the Debtors during the Application Period were reasonable, necessary

 and appropriate to the administration of these chapter 11 cases and related matters.

          B. Reimbursement of Actual and Necessary Expenses Incurred by DTBA

          19.       As set forth in Exhibit B attached hereto, Deloitte FAS has disbursed, and requests

 reimbursement for, a total of $12,290.08 in expenses on behalf of the Debtors in providing

 professional services during the Application Period, which represents actual, necessary expenses

 incurred in the rendition of professional services in these cases.




 2  For each professional incurring non-working travel time, Deloitte FAS charged at half of that professional’s
 applicable billing rate. Hours captured by this category are limited to non-working travel time and are therefore not
 duplicative of time charged in any other category. Travel time is computed from the time the individual leaves the
 location from which he or she departs until arrival at the designated location.

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        20.     Deloitte FAS believes that the actual expenses incurred in providing professional

 services during the Application Period were necessary, reasonable and justified under the

 circumstances to serve the needs of the Debtors in these cases.

  DTBA’S REQUESTED FEES AND REIMBURSEMENT OF EXPENSES SHOULD BE
                      ALLOWED BY THIS COURT

        21.     Section 330 provides that a court may award a professional employed under section

 327 of the Bankruptcy Code “reasonable compensation for actual, necessary services rendered . .

 . and reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1). Section 330 sets

 forth the criteria for the award of compensation and reimbursement:
               In determining the amount of reasonable compensation to be awarded . . . the court
               shall consider the nature, the extent, and the value of such services, taking into
               account all relevant factors, including –

               (a)        the time spent on such services;

               (b)        the rates charged for such services;

               (c)        whether the services were necessary to the administration of, or beneficial
                          at the time at which the service was rendered toward the completion of, a
                          case under this title;

               (d)        whether the services were performed within a reasonable amount of time
                          commensurate with the complexity, importance, and nature of the problem,
                          issue, or task addressed;

               (e)        with respect to a professional person, whether the person is board certified
                          or otherwise has demonstrated skill and experience in the bankruptcy field;
                          and

               (f)        whether the compensation is reasonable based on the customary
                          compensation charged by comparably skilled practitioners in cases other
                          than cases under this title.

 11 U.S.C. § 330(a)(3).

        22.     In the instant case, Deloitte FAS respectfully submits that the services for which it

 seeks compensation in this Application Period were necessary for and beneficial to the Debtors

 and were performed economically, effectively, and efficiently. Deloitte FAS further submits that

 the compensation requested herein is reasonable in light of the nature, extent, and value of such

 services to the Debtors and all parties-in-interest.        Further, in accordance with the factors


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 enumerated in section 330 of the Bankruptcy Code, the amount of fees requested is fair and

 reasonable given: (i) the complexity of these cases; (ii) the time expended; (iii) the nature and

 extent of the services rendered; (iv) the value of such services; and (v) the costs of comparable

 services other than in a case under the Bankruptcy Code. Accordingly, the approval of the

 compensation and expense reimbursement sought herein is warranted.

                     CERTIFICATE OF COMPLIANCE AND WAIVER

        23.     Finally, as set forth in Exhibit C attached hereto, the undersigned representative of

 Deloitte FAS certifies that Deloitte FAS has reviewed the requirements of rule 2016-1 of the Local

 Rules and that the Application substantially complies with that Local Rule. To the extent that the

 Application does not comply in all respects with the requirements of Local Rule 2016-1, Deloitte

 FAS believes that such deviations are not material and respectfully requests that any such

 requirement be waived.
                WHEREFORE, Deloitte FAS respectfully requests that the Court enter an order:

 (i) granting the allowance, on an interim basis, of compensation for professional services rendered

 to the Committee during the Application Period in the amount of $287,130.35, which represents

 100% of the total compensation for professional services rendered during the Application Period;

 (ii) granting the reimbursement, on an interim basis, of $12,290.08 of the actual and necessary

 costs and expenses incurred by Deloitte FAS in these cases during the Application Period; (iii)

 authorizing and directing the Debtors to pay all the 20% of compensation held back in connection
 with the monthly invoices; and (iv) granting such other relief as may be just and proper.

 Dated: September 14, 2017
 Washington, DC                                       Respectfully submitted,

                                                      DELOITTE FINANCIAL ADVISORY
                                                      SERVICES LLP



                                                      Steven Stanton
                                                      Managing Director
                                                      555 12th Street NW Ste 400
                                                      Washington, DC 20004-1207
                                                      Telephone: 202.220.2120
                                                      Facsimile: 855.405.2590

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                            EXHIBIT A




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                         Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                   Fees Sorted by Category for the Fee Period
                                    March 29, 2017 - April 30, 2017

Date                        Description                                 Rate    Hours      Fees

Accounting Consultative Services
03/29/2017
   Minars, Scott            Researched accounting issues              $592.00     1.4    $828.80
                            pertaining to bankruptcy reporting
                            issues
   Minars, Scott            Discussed status of WEC bankruptcy        $592.00     0.8    $473.60
                            and other ancillary accounting issues
                            on a call with T. Baird (WEC).
03/30/2017
   Minars, Scott            Discussed accounting issues               $592.00     0.3    $177.60
                            pertaining to bankruptcy reporting with
                            T. Sasso (Deloitte)
   Sasso, Anthony           Discussed accounting issues               $592.00     0.3    $177.60
                            pertaining to bankruptcy reporting with
                            S. Minars (Deloitte)
03/31/2017
   McGonigle, David         Meeting with T. Sasso, S. Minars          $473.00     0.9    $425.70
                            (Deloitte) and C. Weber (WEC) to
                            discuss current status of bankruptcy
                            process as it relates to financial
                            reporting and walked through financial
                            reporting requirements for accounting
                            for bankruptcy
   Minars, Scott            Meeting with T. Sasso, D. McGonigle       $592.00     0.9    $532.80
                            (Deloitte) and C. Weber (WEC) to
                            discuss current status of bankruptcy
                            process as it relates to financial
                            reporting and walked through financial
                            reporting requirements for accounting
                            for bankruptcy
   Minars, Scott            Researched bankruptcy related             $592.00     0.2    $118.40
                            accounting issues pertaining to WEC.
   Sasso, Anthony           Meeting with D. McGonigle, S. Minars      $592.00     0.9    $532.80
                            (Deloitte) and C. Weber (WEC) to
                            discuss current status of bankruptcy
                            process as it relates to financial
                            reporting and walked through financial
                            reporting requirements for accounting
                            for bankruptcy




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                    Fees Sorted by Category for the Fee Period
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Accounting Consultative Services
04/18/2017
   Minars, Scott              Discussion with T. Baird (WEC)            $592.00     1.5    $888.00
                              regarding Sarbanes Oxley
                              implementation work
04/20/2017
   Minars, Scott              Follow-up discussion with T. Baird        $592.00     0.5    $296.00
                              (WEC) regarding SOX implementation
                              work
04/21/2017
   Minars, Scott              Call with T. Baird (WEC) to discuss       $592.00     0.5    $296.00
                              Independent Auditors ("IA") process
                              going-forward
   Subtotal for Accounting Consultative Services:                                   8.2   $4,747.30

Litigation
03/29/2017
   Cohen, Mark                Meeting to discuss project status and     $592.00     0.6    $355.20
                              dispute procedures with J. Johnston,
                              S. Minars, T. Stafford, R. Strahle, D.
                              McGonigle, J. Letts and K. Hommen
                              (Deloitte).
   Hommen, Kelly              Meeting to discuss project status and     $340.00     0.6    $204.00
                              dispute procedures with J. Johnston,
                              S. Minars, T. Stafford, R. Strahle, D.
                              McGonigle, J. Letts and M. Cohen
                              (Deloitte).
   Johnston, Josh             Meeting to discuss project status and     $592.00     0.6    $355.20
                              dispute procedures with M. Cohen, S.
                              Minars, T. Stafford, R. Strahle, D.
                              McGonigle, J. Letts and K. Hommen
                              (Deloitte).
   Letts, Joshua              Reviewed a portion of the total           $340.00     2.9    $986.00
                              population of emails pursuant to
                              discovery requests
   Letts, Joshua              Prepared listing of relevant discovery    $340.00     1.1    $374.00
                              documents based on current day's
                              analysis for review.




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Date                        Description                                 Rate    Hours      Fees

Litigation
03/29/2017
   Letts, Joshua            Meeting to discuss project status and     $340.00     0.6    $204.00
                            dispute procedures with J. Johnston,
                            S. Minars, T. Stafford, R. Strahle, D.
                            McGonigle, M. Cohen and K. Hommen
                            (Deloitte).
   Letts, Joshua            Updated template for documentation of     $340.00     2.1    $714.00
                            discovery requests
   McGonigle, David         Meeting to discuss project status and     $473.00     0.6    $283.80
                            dispute procedures with J. Johnston,
                            S. Minars, T. Stafford, M. Cohen, R.
                            Strahle, J. Letts and K. Hommen
                            (Deloitte).
   Minars, Scott            Meeting to discuss project status and     $592.00     0.6    $355.20
                            dispute procedures with J. Johnston,
                            R. Strahle, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte).
   Stafford, Ted            Meeting to discuss project status and     $513.00     0.6    $307.80
                            dispute procedures with J. Johnston,
                            S. Minars, M. Cohen, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte).
   Strahle, Robert          Meeting to discuss project status and     $513.00     0.6    $307.80
                            dispute procedures with J. Johnston,
                            S. Minars, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte).
03/30/2017
   Cohen, Mark              Meeting to discuss discovery process      $592.00     0.3    $177.60
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte).
   Johnston, Josh           Meeting to discuss discovery process      $592.00     0.3    $177.60
                            and timeline, including impact of
                            bankruptcy process with S. Minars, M.
                            Cohen, R. Strahle, T. Stafford and D.
                            McGonigle (Deloitte).




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                   Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours       Fees

Litigation
03/30/2017
   Letts, Joshua            Meeting to discuss discovery process      $340.00     0.3    $102.00
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, R. Strahle, T. Stafford and
                            D. McGonigle (Deloitte).
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.8    $952.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     1.2    $408.00
                            documents based on current day's
                            analysis for review.
   Letts, Joshua            Meeting to discuss discovery review       $340.00     0.3    $102.00
                            progress and next steps with D.
                            McGonigle (Deloitte).
   Letts, Joshua            Organized pertinent discovery             $340.00     3.0   $1,020.00
                            documents to date to facilitate review
   Letts, Joshua            Continued to organized pertinent          $340.00     1.0    $340.00
                            discovery documents to date to
                            facilitate review
   McGonigle, David         Updated discovery timeline calendar       $473.00     0.2     $94.60
   McGonigle, David         Meeting to discuss discovery process      $473.00     0.3    $141.90
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, R. Strahle, T.
                            Stafford and M. Cohen (Deloitte).
   McGonigle, David         Meeting to discuss discovery review       $473.00     0.3    $141.90
                            progress and next steps with J. Letts
                            (Deloitte).
   Minars, Scott            Meeting to discuss discovery process      $592.00     0.3    $177.60
                            and timeline, including impact of
                            bankruptcy process with M. Cohen, J.
                            Johnston, J. Letts, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte).
   Stafford, Ted            Meeting to discuss discovery process      $513.00     0.3    $153.90
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, R. Strahle and D.
                            McGonigle (Deloitte).
   Stafford, Ted            Performed review of email discovery       $513.00     0.4    $205.20
                            analysis.

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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours       Fees

Litigation
03/30/2017
   Strahle, Robert          Meeting to discuss discovery process      $513.00     0.3    $153.90
                            and timeline, including impact of
                            bankruptcy process with S. Minars, J.
                            Johnston, J. Letts, T. Stafford and D.
                            McGonigle (Deloitte).
03/31/2017
   Letts, Joshua            Meeting to discuss status update on       $340.00     0.3    $102.00
                            discovery review progress and timeline
                            with D. McGonigle (Deloitte).
   Letts, Joshua            Meeting to discuss status of discovery    $340.00     0.5    $170.00
                            review with T. Stafford and D.
                            McGonigle (Deloitte)
   Letts, Joshua            Drafted privilege log to facilitate       $340.00     3.0   $1,020.00
                            attorney-review of discovery
                            documents
   Letts, Joshua            Continued to draft privilege log to       $340.00     0.9    $306.00
                            facilitate attorney-review of discovery
                            documents
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.9    $986.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     1.0    $340.00
                            documents based on current day's
                            analysis for review.
   McGonigle, David         Meeting to discuss status update on       $473.00     0.3    $141.90
                            discovery review progress and timeline
                            with J. Letts (Deloitte).
   McGonigle, David         Meeting to discuss status of discovery    $473.00     0.5    $236.50
                            review with T. Stafford and J. Letts
                            (Deloitte)
   Stafford, Ted            Drafting of expert report related to      $513.00     2.9   $1,487.70
                            disputed items.
   Stafford, Ted            Meeting to discuss status of discovery    $513.00     0.5    $256.50
                            review with D. McGonigle and J. Letts
                            (Deloitte)
04/01/2017
   Letts, Joshua            Drafted privilege log related to          $340.00     0.5    $170.00
                            discovery requests



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Litigation
04/02/2017
   Letts, Joshua            Created log of responsive items related   $340.00     0.5    $170.00
                            to discovery process for counsel
   Stafford, Ted            Reviewed the expert report related to     $513.00     1.5    $769.50
                            disputed items.
   Stafford, Ted            Updated the draft of the expert report    $513.00     2.7   $1,385.10
                            related to disputed items.
04/03/2017
   Hommen, Kelly            Meeting in Pittsburgh with J. Johnston,   $340.00     0.4    $136.00
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Johnston, Josh           Meeting in Pittsburgh with J. Johnston,   $592.00     0.4    $236.80
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Letts, Joshua            Created log of responsive items related   $340.00     2.4    $816.00
                            to discovery process for Foley
   McGonigle, David         Meeting in Pittsburgh with J. Johnston,   $473.00     0.4    $189.20
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   McGonigle, David         Discussed discovery review process        $473.00     0.4    $189.20
                            with T. Stafford (Deloitte), D. Heffer
                            and S. Madava (Foley)




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Litigation
04/03/2017
   Minars, Scott            Meeting in Pittsburgh with J. Johnston,   $592.00     0.4    $236.80
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Stafford, Ted            Review of email production of items       $513.00     1.9    $974.70
                            pertinent for discovery
   Stafford, Ted            Meeting in Pittsburgh with J. Johnston,   $513.00     0.4    $205.20
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
   Stafford, Ted            Review of email production of items       $513.00     1.7    $872.10
                            pertinent for discovery
   Stafford, Ted            Discussed discovery review process        $513.00     0.4    $205.20
                            with D. McGonigle (Deloitte), D. Heffer
                            and S. Madava (Foley)
   Stafford, Ted            Review of email production of items       $513.00     2.6   $1,333.80
                            pertinent for discovery
   Strahle, Robert          Meeting in Pittsburgh with J. Johnston,   $513.00     0.4    $205.20
                            S. Minars, T. Stafford, D. McGonigle
                            and K. Hommen (Deloitte) regarding
                            legal briefs being prepared by Foley
                            relating to Delware Supreme Court
                            proceedings, discovery process
                            update, and discussion on moving
                            forward.
04/04/2017
   Cohen, Mark              Call with Marcum, LLP to discuss the      $592.00     0.4    $236.80
                            current dispute schedule and potential
                            timing of deliverables going forward
   Letts, Joshua            Created log of responsive items related   $340.00     3.0   $1,020.00
                            to discovery process for Foley
   Letts, Joshua            Reviewed log of responsive items          $340.00     0.3    $102.00
                            related to discovery process

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Litigation
04/04/2017
   Letts, Joshua           Pursuant to discovery determination by    $340.00     0.6    $204.00
                           independent auditor, reviewed emails
                           related to discovery request 7.b
   Letts, Joshua           Updated discovery log with Deloitte       $340.00     0.9    $306.00
                           professionals pursuant to D. Heffer and
                           Y. Aronoff (Foley) comments
   Stafford, Ted           Reviewed documents related to             $513.00     1.2    $615.60
                           discovery requests pursuant to
                           discovery determination by
                           independent auditor
   Stafford, Ted           Review of email production of items       $513.00     0.4    $205.20
                           pertinent for discovery
04/05/2017
   Cohen, Mark             Meeting to discuss current dispute        $592.00     0.5    $296.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J. Johnston, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle, J.
                           Letts and K. Hommen (Deloitte).
   Hommen, Kelly           Meeting to discuss current dispute        $340.00     0.5    $170.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J. Johnston, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle, J.
                           Letts and M. Cohen (Deloitte).
   Johnston, Josh          Meeting to discuss current dispute        $592.00     0.5    $296.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with M. Cohen, S. Minars, T. Stafford,
                           R. Strahle, D. McGonigle, J. Letts and
                           K. Hommen (Deloitte).
   Letts, Joshua           Meeting to discuss current dispute        $340.00     0.5    $170.00
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J. Johnston, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle, M.
                           Cohen and K. Hommen (Deloitte).
   Letts, Joshua           Updated responsive documents log          $340.00     2.1    $714.00
                           related to discovery for Foley



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Date                        Description                                  Rate    Hours       Fees

Litigation
04/05/2017
   Letts, Joshua            Call with T. Stafford (Deloitte) to        $340.00     0.9    $306.00
                            discuss the impact of the bankruptcy
                            on scheduling and workload (i.e. what
                            to focus on going forward)
   McGonigle, David         Meeting to discuss current dispute         $473.00     0.5    $236.50
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, S. Minars, T.
                            Stafford, M. Cohen, R. Strahle, J. Letts
                            and K. Hommen (Deloitte).
   Minars, Scott            Meeting to discuss current dispute         $592.00     0.5    $296.00
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, R. Strahle, T.
                            Stafford, M. Cohen, D. McGonigle, J.
                            Letts and K. Hommen (Deloitte).
   Sakuma, Takeru           Reviewed discovery requests to assist      $406.00     2.0    $812.00
                            in identifying pertinent items
   Stafford, Ted            Meeting to discuss current dispute         $513.00     0.5    $256.50
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, S. Minars, M. Cohen,
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (Deloitte).
   Stafford, Ted            Call with J. Letts (Deloitte) to discuss   $513.00     0.9    $461.70
                            the impact of the bankruptcy on
                            scheduling and workload (i.e. what to
                            focus on going forward)
   Strahle, Robert          Meeting to discuss current dispute         $513.00     0.5    $256.50
                            timeline and potential impact the
                            bankruptcy will have on the process
                            with J. Johnston, S. Minars, T.
                            Stafford, M. Cohen, D. McGonigle, J.
                            Letts and K. Hommen (Deloitte).
04/06/2017
   Letts, Joshua            Reviewed a portion of the total            $340.00     3.0   $1,020.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery     $340.00     1.0    $340.00
                            documents for review based on last
                            two day's analysis

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Litigation
04/06/2017
   Letts, Joshua          Continued to review a portion of the       $340.00     2.5    $850.00
                          total population of emails pursuant to
                          discovery requests
   Stafford, Ted          Continue to review of email production     $513.00     0.7    $359.10
                          of items pertinent for discovery
   Stafford, Ted          Planned schedule of discovery review       $513.00     0.3    $153.90
                          process.
04/07/2017
   Letts, Joshua          Reviewed identified responsive             $340.00     0.4    $136.00
                          documents to prepare for call with Y.
                          Aronoff (Foley)
   Letts, Joshua          Further review of a portion of the total   $340.00     2.9    $986.00
                          population of emails pursuant to
                          discovery requests
   Letts, Joshua          Prepared listing of relevant discovery     $340.00     1.5    $510.00
                          documents for review based on last
                          two day's analysis
   Letts, Joshua          Continued review of a portion of the       $340.00     2.3    $782.00
                          total population of emails pursuant to
                          discovery requests
   Sakuma, Takeru         Reviewed database of Japanese              $406.00     0.5    $203.00
                          emails within Relativity database
                          relating to discovery proceeding
                          pursuant to Independent Auditor's
                          ruling.
   Stafford, Ted          Review of arbitration discovery            $513.00     0.3    $153.90
                          production.
   Stafford, Ted          Review of production log for discovery     $513.00     0.6    $307.80
                          process
04/10/2017
   Cohen, Mark            Meeting regarding status update on         $592.00     0.1     $59.20
                          bankruptcy proceedings and discovery
                          items with S. Minars, T. Stafford, J.
                          Letts and K. Hommen (Deloitte).
   Hommen, Kelly          Meeting regarding status update on         $340.00     0.1     $34.00
                          bankruptcy proceedings and discovery
                          items with S. Minars, T. Stafford, J.
                          Letts and M. Cohen (Deloitte).



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Litigation
04/10/2017
   Letts, Joshua           Reviewed a portion of the total           $340.00     3.0   $1,020.00
                           population of emails pursuant to
                           discovery requests
   Letts, Joshua           Prepared listing of relevant discovery    $340.00     1.0    $340.00
                           documents based on current day's
                           analysis for review.
   Letts, Joshua           Meeting regarding status update on        $340.00     0.1     $34.00
                           bankruptcy proceedings and discovery
                           items with S. Minars, T. Stafford, K.
                           Hommen and M. Cohen (Deloitte).
   Letts, Joshua           Reviewed Relativity review process to     $340.00     0.3    $102.00
                           assess open discovery items
                           remaining
   Letts, Joshua           Reviewed a portion of the total           $340.00     2.2    $748.00
                           population of emails pursuant to
                           discovery requests
   Minars, Scott           Meeting regarding status update on        $592.00     0.1     $59.20
                           bankruptcy proceedings and discovery
                           items with M. Cohen, T. Stafford, J.
                           Letts and K. Hommen (Deloitte).
   Stafford, Ted           Meeting regarding status update on        $513.00     0.1     $51.30
                           bankruptcy proceedings and discovery
                           items with S. Minars, K. Hommen, J.
                           Letts and M. Cohen (Deloitte).
   Stafford, Ted           Review of arbitration related discovery   $513.00     1.0    $513.00
                           production.
04/11/2017
   Cohen, Mark             Meeting to discuss current dispute        $592.00     0.3    $177.60
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with J, Johnson, S. Minars and T.
                           Stafford (Deloitte).
   Johnston, Josh          Meeting to discuss current dispute        $592.00     0.3    $177.60
                           timeline and potential impact the
                           bankruptcy will have on the process
                           with S. Minars, M. Cohen and T.
                           Stafford (Deloitte).
   Letts, Joshua           Drafted responses to Y. Aronoff and D.    $340.00     1.0    $340.00
                           Heffer (Foley) regarding questions
                           pertaining to discovery review process

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Litigation
04/11/2017
   Letts, Joshua          Drafted summary of discovery review       $340.00     0.5    $170.00
                          items still remaining
   Letts, Joshua          Reviewed a portion of the total           $340.00     1.9    $646.00
                          population of emails pursuant to
                          discovery requests
   Letts, Joshua          Conitnued to review a portion of the      $340.00     2.1    $714.00
                          total population of emails pursuant to
                          discovery requests
   Letts, Joshua          Prepared listing of relevant discovery    $340.00     1.9    $646.00
                          documents for review based on last
                          two day's analysis
   Minars, Scott          Meeting to discuss current dispute        $592.00     0.3    $177.60
                          timeline and potential impact the
                          bankruptcy will have on the process
                          with J, Johnson, M. Cohen and T.
                          Stafford (Deloitte).
   Stafford, Ted          Meeting to discuss current dispute        $513.00     0.3    $153.90
                          timeline and potential impact the
                          bankruptcy will have on the process
                          with J, Johnson, S. Minars and M.
                          Cohen (Deloitte).
   Stafford, Ted          Review of arbitration discovery           $513.00     1.2    $615.60
                          production with Y. Aronoff (Foley)
   Stafford, Ted          Review of arbitration related discovery   $513.00     1.0    $513.00
                          production.
04/12/2017
   Letts, Joshua          Reviewed a portion of the total           $340.00     1.3    $442.00
                          population of emails pursuant to
                          discovery requests
   Letts, Joshua          Continued to review a portion of the      $340.00     2.9    $986.00
                          total population of emails pursuant to
                          discovery requests
   Letts, Joshua          Prepared listing of relevant discovery    $340.00     1.4    $476.00
                          documents for review based on last
                          two day's analysis
   Letts, Joshua          Prepared listing of relevant discovery    $340.00     2.0    $680.00
                          documents for review based on day's
                          analysis



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Date                        Description                                 Rate    Hours       Fees

Litigation
04/12/2017
   Sakuma, Takeru           Translated into Japanese a portion of     $406.00     1.8    $730.80
                            the total population of Japanese emails
                            pertaining to discovery requests
   Sakuma, Takeru           Continued to translate Japanese a         $406.00     2.6   $1,055.60
                            portion of the total population of
                            Japanese emails pertaining to
                            discovery requests
   Sakuma, Takeru           Summarized pertinent Japanese             $406.00     0.6    $243.60
                            emails for the discovery requests
   Stafford, Ted            Review of arbitration related discovery   $513.00     1.5    $769.50
                            production.
04/13/2017
   Cohen, Mark              Call with C. Daigle (Marsh Risk           $592.00     0.2    $118.40
                            Consulting) regarding status of
                            bankruptcy, court proceeding and
                            independent auditor process.
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to   $340.00     0.3    $102.00
                            discuss external change order (ECO)
                            selections for the estimated at
                            completion (EAC) Revenue exhibit
   Letts, Joshua            Reviewed current EAC revenue exhibit      $340.00     0.4    $136.00
   Letts, Joshua            Updated EAC revenue exhibit               $340.00     3.0   $1,020.00
   Letts, Joshua            Updated documentation for external        $340.00     1.5    $510.00
                            change order (ECO) selections
   Letts, Joshua            Reviewed identified Japanese              $340.00     0.2     $68.00
                            documents from T. Sakuma (Deloitte)
   McGonigle, David         Meeting with J. Letts (Deloitte) to       $473.00     0.3    $141.90
                            discuss external change order (ECO)
                            selections and other items related to
                            the EAC Revenue exhibit
   Sakuma, Takeru           Translated into Japanese a portion of     $406.00     2.5   $1,015.00
                            the total population of Japanese emails
                            pertaining to discovery requests
   Sakuma, Takeru           Continued to translate Japanese a         $406.00     0.9    $365.40
                            portion of the total population of
                            Japanese emails pertaining to
                            discovery requests
   Stafford, Ted            Review of arbitration related discovery   $513.00     0.2    $102.60
                            production.

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Litigation
04/14/2017
   Letts, Joshua           Reviewed a portion of the total email     $340.00     0.4    $136.00
                           population pertaining to discovery
                           requests
   Sakuma, Takeru          Translated Japanese a portion of the      $406.00     2.7   $1,096.20
                           total population of Japanese emails
                           pertaining to discovery requests
   Sakuma, Takeru          Continued to translate Japanese a         $406.00     2.2    $893.20
                           portion of the total population of
                           Japanese emails pertaining to
                           discovery requests
   Sakuma, Takeru          Summarized pertinent Japanese             $406.00     1.1    $446.60
                           emails for the discovery requests
04/17/2017
   Cohen, Mark             Meeting to discuss project status,        $592.00     0.3    $177.60
                           including bankruptcy proceedings and
                           discovery review process with J.
                           Johnson, J. Letts, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle and
                           K. Hommen (Deloitte).
   Hommen, Kelly           Meeting to discuss project status,        $340.00     0.3    $102.00
                           including bankruptcy proceedings and
                           discovery review process with J.
                           Johnson, J. Letts, S. Minars, T.
                           Stafford, R. Strahle, D. McGonigle and
                           M. Cohen (Deloitte).
   Johnston, Josh          Meeting to discuss project status,        $592.00     0.3    $177.60
                           including bankruptcy proceedings and
                           discovery review process with J.
                           Johnson, M. Cohen, J. Letts, S.
                           Minars, T. Stafford, R. Strahle, D.
                           McGonigle and K. Hommen (Deloitte).
   Letts, Joshua           Reviewed Japanese translation of          $340.00     0.4    $136.00
                           discovery requests identified as
                           pertinent
   Letts, Joshua           Compared human vs machine                 $340.00     1.9    $646.00
                           translation of foreign documents
                           pursuant to discovery request
   Letts, Joshua           Reviewed a portion of the total email     $340.00     2.8    $952.00
                           population pertaining to discovery
                           requests


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Date                        Description                                 Rate    Hours       Fees

Litigation
04/17/2017
   Letts, Joshua            Meeting to discuss project status,        $340.00     0.3    $102.00
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, M. Cohen, S. Minars, T.
                            Stafford, R. Strahle, D. McGonigle and
                            K. Hommen (Deloitte).
   McGonigle, David         Meeting to discuss project status,        $473.00     0.3    $141.90
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, S. Minars, T.
                            Stafford, M. Cohen, R. Strahle and K.
                            Hommen (Deloitte).
   Minars, Scott            Meeting to discuss project status,        $592.00     0.3    $177.60
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, r. Strahle, T.
                            Stafford, M. Cohen, D. McGonigle and
                            K. Hommen (Deloitte).
   Sakuma, Takeru           Translated Japanese a portion of the      $406.00     2.5   $1,015.00
                            total population of Japanese emails
                            pertaining to discovery requests
   Sakuma, Takeru           Summarized pertinent Japanese             $406.00     0.6    $243.60
                            emails for the discovery requests
   Stafford, Ted            Performed review of electronic            $513.00     2.7   $1,385.10
                            document production for arbitration.
   Stafford, Ted            Meeting to discuss project status,        $513.00     0.3    $153.90
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, S. Minars, M.
                            Cohen, R. Strahle, D. McGonigle and
                            K. Hommen (Deloitte).
   Strahle, Robert          Meeting to discuss project status,        $513.00     0.3    $153.90
                            including bankruptcy proceedings and
                            discovery review process with J.
                            Johnson, J. Letts, S. Minars, T.
                            Stafford, M. Cohen, D. McGonigle and
                            K. Hommen (Deloitte).




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Litigation
04/18/2017
   Cohen, Mark              Meeting to discuss the stay associated    $592.00     0.3    $177.60
                            with the bankruptcy, its impact on the
                            independent auditor process and
                            status of discovery with T. Stafford, J
                            Johnston, M. Cohen (Deloitte), T.
                            Baird, D. Mura (WEC) and D. Heffer
                            (Foley).
   Johnston, Josh           Meeting to discuss the stay associated    $592.00     0.3    $177.60
                            with the bankruptcy, its impact on the
                            independent auditor process and
                            status of discovery with T. Stafford, J
                            Johnston, M. Cohen (Deloitte), T.
                            Baird, D. Mura (WEC )and, D. Heffer
                            (Foley).
   McGonigle, David         Performed review of electronic            $473.00     0.4    $189.20
                            discovery review process for D. Heffer
                            (Foley).
   Stafford, Ted            Performed review of electronic            $513.00     0.8    $410.40
                            discovery production for arbitration.
   Stafford, Ted            Continued to perform review of            $513.00     0.5    $256.50
                            electronic discovery production for
                            arbitration.
   Stafford, Ted            Meeting to discuss the stay associated    $513.00     0.3    $153.90
                            with the bankruptcy, its impact on the
                            independent auditor process and
                            status of discovery with T. Stafford, J
                            Johnston, M. Cohen (Deloitte), T.
                            Baird, D. Mura (WEC), D. Heffer
                            (Foley).
04/19/2017
   Letts, Joshua            Meeting with D. McGonigle (Deloitte) to   $340.00     0.4    $136.00
                            discuss status of discovery review and
                            project timeline going forward.
   Letts, Joshua            Reviewed a portion of the total           $340.00     2.8    $952.00
                            population of emails pursuant to
                            discovery requests
   Letts, Joshua            Prepared listing of relevant discovery    $340.00     0.9    $306.00
                            documents for review based on last
                            two day's analysis



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Litigation
04/19/2017
   Letts, Joshua            Continued to review a portion of the      $340.00     0.4    $136.00
                            total population of emails pursuant to
                            discovery requests
   McGonigle, David         Meeting with J. Letts (Deloitte) to       $473.00     0.4    $189.20
                            discuss status of discovery review and
                            project timeline going forward.
   Stafford, Ted            Performed review of electronic            $513.00     0.4    $205.20
                            discovery production for arbitration.
04/20/2017
   Cohen, Mark              Internal meeting with J. Johnston, S.     $592.00     0.3    $177.60
                            Minars, R. Strahle, D. McGonigle and
                            T. Stafford (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   Johnston, Josh           Internal meeting with M. Cohen, S.        $592.00     0.3    $177.60
                            Minars, D. McGonigle, R. Strahle and
                            T. Stafford (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   McGonigle, David         Internal meeting with J. Johnston, S.     $473.00     0.3    $141.90
                            Minars, R. Strahle, M. T. Stafford and
                            M. Cohen (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   Minars, Scott            Internal meeting with J. Johnston, T.     $592.00     0.3    $177.60
                            Stafford, R. Strahle, D. McGonigle and
                            M. Cohen (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward




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Litigation
04/20/2017
   Stafford, Ted            Internal meeting with J. Johnston, S.      $513.00     0.3    $153.90
                            Minars, R. Strahle, D. McGonigle and
                            M. Cohen (Deloitte) to discuss G.
                            Thornton's withdrawal as the
                            Independent Arbitrator and
                            expectations for the engagement going
                            forward
   Strahle, Robert          Internal meeting with J. Johnston, S.      $513.00     0.3    $153.90
                            Minars, M. Cohen and T. Stafford
                            (Deloitte) to discuss G. Thornton's
                            withdrawal as the Independent
                            Arbitrator and expectations for the
                            engagement going forward
04/21/2017
   McGonigle, David         Updated organization and status of         $473.00     0.3    $141.90
                            expert report on disputed items to
                            facilitate transition.
   Stafford, Ted            Drafted responses to vendor for tape       $513.00     0.5    $256.50
                            recovery.
04/24/2017
   Cohen, Mark              Meeting to discuss potential               $592.00     0.4    $236.80
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, T. Stafford, R. Strahle, J.
                            Letts and K. Hommen (Deloitte).
   Hommen, Kelly            Meeting to discuss potential               $340.00     0.4    $136.00
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle and J. Letts, (Deloitte).
   Johnston, Josh           Meeting to discuss potential               $592.00     0.4    $236.80
                            independent auditor replacements and
                            go-forward strategy with S. Minars, M.
                            Cohen, T. Stafford, R. Strahle, J. Letts
                            and K. Hommen (Deloitte).
   Letts, Joshua            Meeting to discuss potential               $340.00     0.4    $136.00
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle and K. Hommen (Deloitte).


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Litigation
04/24/2017
   Letts, Joshua            Internal call with D. McGonigle             $340.00     0.2     $68.00
                            (Deloitte) to discuss case status and
                            project timeline.
   McGonigle, David         Internal call with J. Letts (Deloitte) to   $473.00     0.2     $94.60
                            discuss case status and project
                            timeline.
   Minars, Scott            Meeting to discuss potential                $592.00     0.4    $236.80
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            R. Strahle, M. Cohen, T. Stafford, J.
                            Letts and K. Hommen (Deloitte).
   Stafford, Ted            Meeting to discuss potential                $513.00     0.4    $205.20
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, R. Strahle, J.
                            Letts and K. Hommen (Deloitte).
   Strahle, Robert          Meeting to discuss potential                $513.00     0.4    $205.20
                            independent auditor replacements and
                            go-forward strategy with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, J.
                            Letts and K. Hommen (Deloitte).
04/25/2017
   Cohen, Mark              Research potential Independent              $592.00     0.6    $355.20
                            Auditor ("IA") candidates going forward
   Stafford, Ted            Analysis of discovery records for           $513.00     1.6    $820.80
                            arbitration proceeding.
04/26/2017
   Hommen, Kelly            Meeting to discuss project timeline and     $340.00     0.2     $68.00
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, R. Strahle, D. McGonigle and
                            J. Letts (Deloitte).
   Johnston, Josh           Meeting to discuss project timeline and     $592.00     0.2    $118.40
                            updates on the bankruptcy
                            proceedings with S. Minars, R. Strahle,
                            D. McGonigle, J. Letts and K. Hommen
                            (Deloitte).




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Litigation
04/26/2017
   Letts, Joshua            Meeting to discuss project timeline and   $340.00     0.2     $68.00
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, R. Strahle, D. McGonigle and
                            K. Hommen (Deloitte).
   McGonigle, David         Meeting to discuss project timeline and   $473.00     0.2     $94.60
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, R. Strahle, J. Letts and K.
                            Hommen (Deloitte).
   Minars, Scott            Meeting to discuss project timeline and   $592.00     0.2    $118.40
                            updates on the bankruptcy
                            proceedings with J. Johnston, R.
                            Strahle, D. McGonigle, J. Letts and K.
                            Hommen (Deloitte).
   Stafford, Ted            Collected electronic discovery details    $513.00     0.4    $205.20
                            for arbitration.
   Strahle, Robert          Meeting to discuss project timeline and   $513.00     0.2    $102.60
                            updates on the bankruptcy
                            proceedings with J. Johnston, S.
                            Minars, D. McGonigle, J. Letts and K.
                            Hommen (Deloitte).
04/27/2017
   Stafford, Ted            Analysis of independent auditors          $513.00     0.3    $153.90
                            options for arbitration.
04/28/2017
   Cohen, Mark              Meeting to discuss Independent            $592.00     0.5    $296.00
                            Auditor alternatives with S. Minars
                            (Deloitte)
   Cohen, Mark              Researched replacement independent        $592.00     0.5    $296.00
                            auditor suggestions provided by
                            Marcum
   Letts, Joshua            Reviewed initial findings on potential    $340.00     0.6    $204.00
                            independent auditors.
   Letts, Joshua            Researched potential independent          $340.00     2.8    $952.00
                            auditors that do not have conflicts
   Letts, Joshua            Updated listing of potential              $340.00     2.1    $714.00
                            independent auditors



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Litigation
04/28/2017
   Minars, Scott                 Meeting to discuss Independent            $592.00     0.5     $296.00
                                 Auditor alternatives with M. Cohen
                                 (Deloitte)
   Sakuma, Takeru                Summarized pertinent Japanese             $406.00     0.6     $243.60
                                 emails for the discovery requests
   Stafford, Ted                 Researched potential Independent          $513.00     1.3     $666.90
                                 Auditors for arbitration proceedings.
   Subtotal for Litigation:                                                          173.5   $71,089.60

Non-Working Travel
04/24/2017
   Sasso, Anthony                Travel from Newark to Pittsburgh for      $296.00     3.0     $888.00
                                 bankruptcy accounting training with
                                 WEC accounting personnel
04/26/2017
   Sasso, Anthony                Travel from Pittsburgh to Newark -        $296.00     4.0    $1,184.00
                                 includes travel delay
   Subtotal for Non-Working Travel:                                                    7.0    $2,072.00

Preparation of Fee Applications
04/26/2017
   McGonigle, David              Compile and summarize Deloitte hours      $473.00     0.6     $283.80
                                 and fees since the bankruptcy filing.
   Subtotal for Preparation of Fee Applications:                                       0.6     $283.80

Project Bluefin - Post Closing
03/29/2017
   Sasso, Anthony                Reviewed WEC's public bankruptcy          $592.00     1.0     $592.00
                                 filings
03/31/2017
   Sasso, Anthony                Researched bankruptcy accounting          $592.00     0.1      $59.20
                                 issues pertaining to WEC




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Project Bluefin - Post Closing
04/05/2017
   Minars, Scott          Researched issues related to               $592.00     0.5    $296.00
                          bankruptcy that pertain to WEC.
04/06/2017
   Minars, Scott          Call with T. Sasso (Deloitte) regarding    $592.00     1.0    $592.00
                          planning for training for WEC
                          management
   Sasso, Anthony         Call with S. Minars (Deloitte) regarding   $592.00     1.0    $592.00
                          planning for training for WEC
                          management
04/07/2017
   Sasso, Anthony         Developed training presentation to         $592.00     2.8   $1,657.60
                          present to WEC personnel pertaining
                          to bankruptcy financial reporting
   Sasso, Anthony         Continued to develop training              $592.00     2.2   $1,302.40
                          presentation to present to WEC
                          personnel pertaining to bankruptcy
                          financial reporting
04/12/2017
   Sasso, Anthony         Planning for bankruptcy training           $592.00     0.5    $296.00
                          session to present to WEC's
                          accounting personnel
04/17/2017
   Sasso, Anthony         Analyze internal controls related to       $592.00     1.0    $592.00
                          Chapter 11
04/19/2017
   Sasso, Anthony         Researched SOX related issues              $592.00     1.5    $888.00
                          relevant to WEC
04/20/2017
   Sasso, Anthony         Research WEC to assess accounting          $592.00     1.2    $710.40
                          issues that will pertain to the Company
                          during bankruptcy
04/24/2017
   Sasso, Anthony         Conducted company research to              $592.00     0.6    $355.20
                          assess percentage of completion
                          bankruptcy impacts




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Project Bluefin - Post Closing
04/24/2017
   Sasso, Anthony         Reviewed Company accounting               $592.00     2.1   $1,243.20
                          memos regarding percentage of
                          completion bankruptcy impacts
   Sasso, Anthony         Accounting research to assess POC         $592.00     0.3    $177.60
                          BK impacts
   Sasso, Anthony         Prepare training decks to be presented    $592.00     2.0   $1,184.00
                          to WEC's accounting personnel
                          regarding bankruptcy accounting items
                          pertaining to the WEC
04/25/2017
   Minars, Scott          Participated in training session for      $592.00     3.0   $1,776.00
                          WEC personnel pertaining to internal
                          audit bankruptcy impacts
   Minars, Scott          Continue to participated in training      $592.00     3.0   $1,776.00
                          session for WEC personnel pertaining
                          to internal audit bankruptcy impacts
   Minars, Scott          Reviewed material for training session    $592.00     2.0   $1,184.00
                          for WEC personnel pertaining to
                          internal audit bankruptcy impacts
   Sasso, Anthony         Prepare training decks to be presented    $592.00     2.0   $1,184.00
                          to WEC's accounting personnel
                          regarding bankruptcy accounting items
                          pertaining to the WEC
   Sasso, Anthony         Presented training session to WEC         $592.00     3.0   $1,776.00
                          personnel pertaining to internal audit
                          bankruptcy impacts
   Sasso, Anthony         Continued to present training session     $592.00     3.0   $1,776.00
                          to WEC personnel pertaining to
                          internal audit bankruptcy impacts
04/26/2017
   Minars, Scott          Participated in training session for      $592.00     3.0   $1,776.00
                          WEC personnel pertaining to internal
                          audit bankruptcy impacts
   Minars, Scott          Continue to participate in training       $592.00     2.2   $1,302.40
                          session for WEC personnel pertaining
                          to internal audit bankruptcy impacts




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Project Bluefin - Post Closing
04/26/2017
   Minars, Scott                Client meeting with D. Evankovich         $592.00     0.8     $473.60
                                (WEC), G. Yauch (Deloitte) and T.
                                Sasso (Deloitte) regarding bankruptcy
                                proceedings and project timeline
   Sasso, Anthony               Client meeting with D. Evankovich         $592.00     0.8     $473.60
                                (WEC), G. Yauch (Deloitte) and S.
                                Minars (Deloitte) regarding bankruptcy
                                proceedings and project timeline
   Sasso, Anthony               Presented training session to WEC         $592.00     3.0    $1,776.00
                                personnel pertaining to internal audit
                                bankruptcy impacts
   Sasso, Anthony               Continued to present training session     $592.00     1.0     $592.00
                                to WEC personnel pertaining to
                                internal audit bankruptcy impacts
04/27/2017
   Minars, Scott                Research related to accounting            $592.00     1.0     $592.00
                                matters for WEC bankruptcy
   Sasso, Anthony               Reviewed T. Baird (WEC) comments          $592.00     1.0     $592.00
                                to bankruptcy slides subsequent to
                                bankruptcy filing
04/28/2017
   Sasso, Anthony               Revised bankruptcy decks related to       $592.00     0.8     $473.60
                                bankruptcy filing based on T. Baird
                                (WEC) comments
   Sasso, Anthony               Responded to T. Baird (WEC)               $592.00     0.2     $118.40
                                regarding bankruptcy training deck
                                comments
   Subtotal for Project Bluefin - Post Closing:                                      47.6   $28,179.20

Tax Consultative Services
04/03/2017
   Collins, Bryan               Review of company's public                $592.00     1.0     $592.00
                                bankruptcy filing in preparation of
                                clients meeting related to bankruptcy
                                tax issues.




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Date                            Description                                 Rate    Hours          Fees

Tax Consultative Services
04/04/2017
   Collins, Bryan               Review current financial position and     $592.00     0.9      $532.80
                                debt position to prepare for client
                                meetings related to bankruptcy tax
                                issues.
   Collins, Bryan               Prepare materials for discussion with     $592.00     1.3      $769.60
                                client regarding bankruptcy tax issues
   Collins, Bryan               Prepare materials for discussion with     $592.00     1.8     $1,065.60
                                client regarding planning a bankruptcy
                                emergence transaction
   Collins, Bryan               Meeting with S. Minars (Deloitte)         $592.00     3.0     $1,776.00
                                regarding tax related bankruptcy
                                issues
   Minars, Scott                Meeting with B. Collins (Deloitte)        $592.00     3.0     $1,776.00
                                regarding tax related bankruptcy
                                issues
   Minars, Scott                Review materials for tax related          $592.00     1.8     $1,065.60
                                bankruptcy issues with client
    Subtotal for Tax Consultative Services:                                          12.8     $7,577.60
Total                                                                               249.7   $113,949.50




                                              Recapitulation
        Name                                                    Rate       Hours            Fees
        Cohen, Mark                                        $592.00           5.3       $3,137.60
        Collins, Bryan                                     $592.00           8.0       $4,736.00
        Johnston, Josh                                     $592.00           3.6       $2,131.20
        Minars, Scott                                      $592.00          31.3      $18,529.60
        Sasso, Anthony                                     $592.00          32.3      $19,121.60
        Stafford, Ted                                      $513.00          35.9      $18,416.70
        Strahle, Robert                                    $513.00           3.0       $1,539.00
        McGonigle, David                                   $473.00           7.4       $3,500.20
        Sakuma, Takeru                                     $406.00          20.6       $8,363.60
        Hommen, Kelly                                      $340.00           2.5        $850.00

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                                 Recapitulation
Name                                                 Rate       Hours         Fees
Letts, Joshua                                   $340.00          92.8    $31,552.00
Sasso, Anthony                                  $296.00           7.0     $2,072.00




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                 Fees Sorted by Category for the Fee Period
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Date                              Description                                  Rate    Hours       Fees

Firm Retention
05/30/2017
   McGonigle, David               Preparation of pre-petition fee and        $473.00     2.9   $1,371.70
                                  expenses incurred per Deloitte's office
                                  of general counsel request for retention
                                  application
05/31/2017
   McGonigle, David               Continued preparation of pre-petition      $473.00     2.8   $1,324.40
                                  fee and expenses incurred per
                                  Deloitte's office of general counsel
                                  request for retention application
   McGonigle, David               Composed email requesting any              $473.00     0.1     $47.30
                                  relationship with bankruptcy court
                                  personnel to S. Minars, M. Cohen, S.
                                  Stanton, J. Larson, T. Stafford, M.
                                  Cohen, J. Letts, K. Homment (all
                                  Deloitte).
   McGonigle, David               Summarized responses to email from         $473.00     0.2     $94.60
                                  S. Minars, M. Cohen, S. Stanton, J.
                                  Larson, T. Stafford, M. Cohen, J. Letts,
                                  K. Homment (all Deloitte) requesting
                                  disclosure of any relationship with
                                  court personnel
   Subtotal for Firm Retention:                                                          6.0   $2,838.00

Litigation
05/01/2017
   Cohen, Mark                    Discussed potential independent            $592.00     0.6    $355.20
                                  auditor candidates/firms and additional
                                  research to perform with J. Johnston,
                                  S. Minars, T. Stafford, R. Strahle, D.
                                  McGonigle, J. Letts and K. Hommen
                                  (all Deloitte).
   Cohen, Mark                    Review of list of potential firms and      $592.00     1.0    $592.00
                                  candidates to serve as Independent
                                  Auditor ('IA"), including research
                                  Deloitte relationships with potential
                                  candidates.




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                    Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours       Fees

Litigation
05/01/2017
   Hommen, Kelly            Discussed potential independent           $340.00     0.6    $204.00
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
   Johnston, Josh           Discussed potential independent           $592.00     0.6    $355.20
                            auditor candidates/firms and additional
                            research to perform with S. Minars, M.
                            Cohen, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
   Johnston, Josh           Research of Independent Auditor           $592.00     1.8   $1,065.60
                            options for arbitration.
   Letts, Joshua            Discussed potential independent           $340.00     0.6    $204.00
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and K. Hommen
                            (all Deloitte).
   Letts, Joshua            Updated summary of Tier 3 IA options      $340.00     2.3    $782.00
   Letts, Joshua            Updated summary of Tier 5 IA options      $340.00     1.7    $578.00
   Letts, Joshua            Researched potential IA                   $340.00     2.4    $816.00
                            candidates/firms for qualifications
   Letts, Joshua            Researched publications by potential      $340.00     1.9    $646.00
                            independent auditor candidates
   McGonigle, David         Discussed potential independent           $473.00     0.6    $283.80
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   McGonigle, David         Created template spreadsheet for list     $473.00     0.5    $236.50
                            of potential Independent Auditors and
                            Construction Experts
   McGonigle, David         Updated the listing of potential Tier 1   $473.00     2.8   $1,324.40
                            IA candidates
   McGonigle, David         Updated the listing of potential Tier 2   $473.00     1.9    $898.70
                            IA candidates


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Date                        Description                                 Rate    Hours       Fees

Litigation
05/01/2017
   McGonigle, David         Updated the listing of potential Tier 4   $473.00     0.7    $331.10
                            IA candidates
   McGonigle, David         Updated Listing of Potential              $473.00     0.6    $283.80
                            Independent Auditors and Experts
                            based on notes provided by T. Stafford
                            (Deloitte)
   Minars, Scott            Discussed potential independent           $592.00     0.6    $355.20
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            M. Cohen, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
   Minars, Scott            Researche the preliminary listing of      $592.00     1.8   $1,065.60
                            potential IA candidates
   Stafford, Ted            Discussed potential independent           $513.00     0.6    $307.80
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
   Stafford, Ted            Reviewed market research for              $513.00     2.3   $1,179.90
                            independent auditors for arbitration
                            proceeding.
   Strahle, Robert          Discussed potential independent           $513.00     0.6    $307.80
                            auditor candidates/firms and additional
                            research to perform with J. Johnston,
                            S. Minars, M. Cohen, T. Stafford, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
05/02/2017
   Cohen, Mark              Reviewed summary of potential             $592.00     0.8    $473.60
                            Independent Auditors ("IA")
   Cohen, Mark              Meeting with T. Baird (WEC), S.           $592.00     0.2    $118.40
                            Minars, J. Johnston, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss
                            potential Independent Auditors for the
                            purchase price dispute.




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Litigation
05/02/2017
   Johnston, Josh           Meeting with T. Baird (WEC), S.          $592.00     0.2    $118.40
                            Minars, M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
   Letts, Joshua            Researched potential independent         $340.00     2.1    $714.00
                            auditor candidates
   McGonigle, David         Updated Listing of potential             $473.00     0.7    $331.10
                            Independent auditors and experts
                            based on S. Minars (Deloitte) notes.
   McGonigle, David         Updated Listing of Potential             $473.00     0.5    $236.50
                            Independent Auditors and Experts to
                            reflect additional candidates provided
                            by D. Heffer (Foley)
   McGonigle, David         Discussed project timeline and updates   $473.00     0.3    $141.90
                            on the bankruptcy proceedings with S.
                            Minars (Deloitte)
   McGonigle, David         Meeting with T. Baird (WEC), S.          $473.00     0.2     $94.60
                            Minars, J. Johnston, M. Cohen and T.
                            Stafford (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
   Minars, Scott            Reviewed the updated and expanded        $592.00     1.2    $710.40
                            IA candidate listing and provided
                            comments.
   Minars, Scott            Discussed project timeline and updates   $592.00     0.3    $177.60
                            on the bankruptcy proceedings with D.
                            McGonigle (Deloitte)
   Minars, Scott            Meeting with T. Baird (WEC), J.          $592.00     0.2    $118.40
                            Johnston, M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.
   Stafford, Ted            Reviewed market research for             $513.00     1.2    $615.60
                            independent auditors for arbitration
                            proceeding.
   Stafford, Ted            Meeting with T. Baird (WEC), S.          $513.00     0.2    $102.60
                            Minars, J. Johnston, M. Cohen and D.
                            McGonigle (all Deloitte) to discuss
                            potential independent auditors for the
                            purchase price dispute.

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Date                        Description                                 Rate    Hours      Fees

Litigation
05/03/2017
   Hommen, Kelly            Meeting with J. Johnston, S. Minars, T.   $340.00     0.3    $102.00
                            Stafford, R. Strahle, D. McGonigle and
                            J. Letts (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Johnston, Josh           Meeting with S. Minars, T. Stafford, R.   $592.00     0.3    $177.60
                            Strahle, D. McGonigle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Letts, Joshua            Meeting with J. Johnston, S. Minars, T.   $340.00     0.3    $102.00
                            Stafford, R. Strahle, D. McGonigle and
                            K. Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Letts, Joshua            Researched potential independent          $340.00     1.6    $544.00
                            auditor candidates/firms
   McGonigle, David         Draft email to the team summarizing       $473.00     0.3    $141.90
                            potential firms to include as IA
                            candidates
   McGonigle, David         Meeting with J. Johnston, S. Minars, T.   $473.00     0.3    $141.90
                            Stafford, R. Strahle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Minars, Scott            Meeting with J. Johnston, T. Stafford,    $592.00     0.3    $177.60
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Stafford, Ted            Review of industry market data for        $513.00     0.8    $410.40
                            arbitration.

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Litigation
05/03/2017
   Stafford, Ted            Meeting with J. Johnston, S. Minars, R.    $513.00     0.3    $153.90
                            Strahle, D. McGonigle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
   Strahle, Robert          Meeting with J. Johnston, S. Minars, T.    $513.00     0.3    $153.90
                            Stafford, D. McGonigle, J. Letts and K.
                            Hommen (all Deloitte) to discuss
                            potential independent auditor
                            candidates, WEC state supreme court
                            proceedings, and recent news
                            publications addressing the dispute
05/04/2017
   Letts, Joshua            Researched potential Independent           $340.00     0.1     $34.00
                            auditor candidates
   Stafford, Ted            Review of industry market data for         $513.00     0.7    $359.10
                            arbitration.
05/05/2017
   McGonigle, David         Updated powerpoint summary of              $473.00     0.5    $236.50
                            potential IA candidates going forward
   McGonigle, David         Updated list of parties in interest for    $473.00     1.7    $804.10
                            additional resumes
   Stafford, Ted            Review of industry market data related     $513.00     1.3    $666.90
                            to search for new independent auditor
                            pursuant to ongoing post-closing
                            dispute.
05/09/2017
   Cohen, Mark              Call with client and counsel P. Wang,      $592.00     0.5    $296.00
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, S. Minars, T.
                            Stafford and D. McGonigle (all Deloitte)
                            to discuss recent court proceedings
                            and arbitration status




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Date                        Description                                  Rate    Hours      Fees

Litigation
05/09/2017
   Johnston, Josh           Call with client and counsel P. Wang,      $592.00     0.5    $296.00
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), S. Minars, M. Cohen, T.
                            Stafford and D. McGonigle (all Deloitte)
                            to discuss recent court proceedings
                            and arbitration status
   McGonigle, David         Call with client and counsel P. Wang,      $473.00     0.5    $236.50
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, S. Minars, M.
                            Cohen and T. Stafford (all Deloitte) to
                            discuss recent court proceedings and
                            arbitration status
   Minars, Scott            Call with client and counsel P. Wang,      $592.00     0.5    $296.00
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, M. Cohen and T.
                            Stafford, D. McGonigle (all Deloitte) to
                            discuss recent court proceedings and
                            arbitration status
   Stafford, Ted            Call with client and counsel P. Wang,      $513.00     0.5    $256.50
                            D Heffer (Foley), R. Swanson, T. Baird
                            (WEC), J. Johnston, S. Minars, M.
                            Cohen and D. McGonigle (all Deloitte)
                            to discuss recent court proceedings
                            and arbitration status
   Stafford, Ted            Analysis of market data for arbitration    $513.00     0.6    $307.80
                            related to search for new independent
                            auditor pursuant to ongoing post-
                            closing dispute.
05/10/2017
   Johnston, Josh           Meeting to discuss progress in             $592.00     0.1     $59.20
                            searching for a new independent
                            auditor and potential project timeline
                            moving forward with J. Johnston, and
                            J. Letts (Deloitte).
   Letts, Joshua            Meeting to discuss progress in             $340.00     0.1     $34.00
                            searching for a new independent
                            auditor and potential project timeline
                            moving forward with J. Johnston, R.
                            Strahle and, J. Letts (Deloitte).




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Date                        Description                                 Rate    Hours      Fees

Litigation
05/12/2017
   Stafford, Ted            Analysis of market data for arbitration   $513.00     0.2    $102.60
                            related to search for new independent
                            auditor pursuant to ongoing post-
                            closing dispute.
05/15/2017
   Cohen, Mark              Discussed top independent auditor         $592.00     0.3    $177.60
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
   Johnston, Josh           Discussed top independent auditor         $592.00     0.3    $177.60
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with S. Minars,
                            M. Cohen, T. Stafford, R. Strahle, D.
                            McGonigle and J. Letts (all Deloitte).
   Letts, Joshua            Discussed top independent auditor         $340.00     0.3    $102.00
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, M. Cohen, T.
                            Stafford, R. Strahle and D. McGonigle
                            (all Deloitte).
   McGonigle, David         Discussed top independent auditor         $473.00     0.3    $141.90
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, M. Cohen, T.
                            Stafford, R. Strahle and J. Letts (all
                            Deloitte).
   Minars, Scott            Discussed top independent auditor         $592.00     0.3    $177.60
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).




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Date                        Description                                  Rate    Hours       Fees

Litigation
05/15/2017
   Stafford, Ted            Discussed top independent auditor          $513.00     0.3    $153.90
                            candidates and strategy, as well as
                            effects of potential Delaware State
                            Supreme court rulings with J.
                            Johnston, S. Minars, M. Cohen, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
05/16/2017
   Cohen, Mark              Call with client and counsel T. Baird      $592.00     0.2    $118.40
                            (WEC), D. Heffer (Foley), J. Johnston,
                            S. Minars, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   Johnston, Josh           Call with client and counsel T. Baird      $592.00     0.2    $118.40
                            (WEC), D. Heffer (Foley), M. Cohen, S.
                            Minars, T. Stafford and D. McGonigle
                            (all Deloitte) to discuss IA selection
                            and arbitration status
   McGonigle, David         Call with client and counsel T. Baird      $473.00     0.2     $94.60
                            (WEC), D. Heffer (Foley), J. Johnston,
                            M. Cohen, S. Minars and T. Stafford
                            (all Deloitte) to discuss IA selection
                            and arbitration status
   Minars, Scott            Call with client and counsel T. Baird      $592.00     0.2    $118.40
                            (WEC), D. Heffer (Foley), J. Johnston,
                            M. Cohen, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   Stafford, Ted            Call with client and counsel T. Baird      $513.00     0.2    $102.60
                            (WEC), D. Heffer (Foley), J. Johnston,
                            M. Cohen, S. Minars and D. McGonigle
                            (all Deloitte) to discuss IA selection
                            and arbitration status
05/19/2017
   Minars, Scott            Reviewed the responses to the internal     $592.00     3.2   $1,894.40
                            Deloitte parties-in-interest conflict
                            checking.
   Stafford, Ted            Analysis of market data for arbitration.   $513.00     0.2    $102.60




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Litigation
05/22/2017
   Cohen, Mark              Meeting to discuss ongoing bankruptcy     $592.00     0.2    $118.40
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, T. Stafford, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
   Hommen, Kelly            Meeting to discuss ongoing bankruptcy     $340.00     0.2     $68.00
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, T. Stafford, D.
                            McGonigle and J. Letts (all Deloitte).
   Johnston, Josh           Meeting to discuss ongoing bankruptcy     $592.00     0.2    $118.40
                            proceedings and independent auditor
                            selection progress with S. Minars, M.
                            Cohen, T. Stafford, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
   Letts, Joshua            Meeting to discuss ongoing bankruptcy     $340.00     0.2     $68.00
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, T. Stafford, D.
                            McGonigle and K. Hommen (all
                            Deloitte).
   McGonigle, David         Meeting to discuss ongoing bankruptcy     $473.00     0.2     $94.60
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, T. Stafford, J. Letts
                            and K. Hommen (all Deloitte).
   Minars, Scott            Meeting to discuss ongoing bankruptcy     $592.00     0.2    $118.40
                            proceedings and independent auditor
                            selection progress with J. Johnston M.
                            Cohen, T. Stafford, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).
   Stafford, Ted            Meeting to discuss ongoing bankruptcy     $513.00     0.2    $102.60
                            proceedings and independent auditor
                            selection progress with J. Johnston, S.
                            Minars, M. Cohen, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte).




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Date                        Description                                   Rate    Hours      Fees

Litigation
05/23/2017
   Cohen, Mark              Call with client and counsel T. Baird,      $592.00     0.4    $236.80
                            D.Mura (WEC), S. Minars, D.
                            McGonigle and T. Stafford (all Deloitte)
                            to discuss IA selection and arbitration
                            status.
   McGonigle, David         Call with client and counsel T. Baird,      $473.00     0.4    $189.20
                            D.Mura (WEC), S. Minars, M. Cohen
                            and T. Stafford (all Deloitte) to discuss
                            IA selection and arbitration status.
   Minars, Scott            Call with client and counsel T. Baird,      $592.00     0.4    $236.80
                            D.Mura (WEC), M. Cohen, D.
                            McGonigle and T. Stafford (all Deloitte)
                            to discuss IA selection and arbitration
                            status.
   Stafford, Ted            Call with client and counsel T. Baird,      $513.00     0.4    $205.20
                            D.Mura (WEC), S. Minars, D.
                            McGonigle and M. Cohen (all Deloitte)
                            to discuss IA selection and arbitration
                            status.
05/24/2017
   Cohen, Mark              Internal call to discuss potential IA       $592.00     0.2    $118.40
                            candidates across available firms with
                            S. Minars, T. Stafford, R. Strahle, J.
                            Letts, D. McGonigle and K. Hommen
                            (all Deloitte).
   Hommen, Kelly            Internal call to discuss potential IA       $340.00     0.2     $68.00
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts (all
                            Deloitte).
   Letts, Joshua            Internal call to discuss potential IA       $340.00     0.1     $34.00
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, D. McGongile and K. Hommen
                            (all Deloitte).
   McGonigle, David         Internal call to discuss potential IA       $473.00     0.2     $94.60
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, R.
                            Strahle, J. Letts and K. Hommen (all
                            Deloitte).


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                          Westinghouse Electric Company
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                     Fees Sorted by Category for the Fee Period
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Date                        Description                                 Rate    Hours      Fees

Litigation
05/24/2017
   Minars, Scott            Internal call to discuss potential IA     $592.00     0.2    $118.40
                            candidates across available firms with
                            D. McGonigle, M. Cohen, T. Stafford,
                            R. Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   Stafford, Ted            Internal call to discuss potential IA     $513.00     0.2    $102.60
                            candidates across available firms with
                            S. Minars, M. Cohen, D. McGonigle, R.
                            Strahle, J. Letts and K. Hommen (all
                            Deloitte).
   Stafford, Ted            Reviewed market research for              $513.00     0.5    $256.50
                            arbitration related to search for new
                            independent auditor pursuant to
                            ongoing post-closing dispute.
   Strahle, Robert          Internal call to discuss potential IA     $513.00     0.2    $102.60
                            candidates across available firms with
                            S. Minars, M. Cohen, T. Stafford, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte).
05/25/2017
   Stafford, Ted            Review of arbitration and court           $513.00     1.0    $513.00
                            proceedings and filings related to
                            search for new independent auditor
                            pursuant to ongoing post-closing
                            dispute.
05/30/2017
   Cohen, Mark              Call with client and counsel R.           $592.00     0.1     $59.20
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), J. Johnston, S.
                            Minars, R. Strahle, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status
   Johnston, Josh           Call with client and counsel R.           $592.00     0.1     $59.20
                            Swanson, D. Mura (WEC), P. Wang,
                            D. Heffer (Foley), M. Cohen, S. Minars,
                            R. Strahle, T. Stafford and D.
                            McGonigle (all Deloitte) to discuss IA
                            selection and arbitration status




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Date                              Description                                Rate    Hours           Fees

Litigation
05/30/2017
   McGonigle, David               Call with client and counsel R.          $473.00     0.1          $47.30
                                  Swanson, D. Mura (WEC), P. Wang,
                                  D. Heffer (Foley), J. Johnston, S.
                                  Minars, M. Cohen, R. Strahle and T.
                                  Stafford (all Deloitte) to discuss IA
                                  selection and arbitration status
   Minars, Scott                  Call with client and counsel R.          $592.00     0.1          $59.20
                                  Swanson, D. Mura (WEC), P. Wang,
                                  D. Heffer (Foley), J. Johnston, M.
                                  Cohen, R. Strahle, T. Stafford and D.
                                  McGonigle (all Deloitte) to discuss IA
                                  selection and arbitration status
   Stafford, Ted                  Call with client and counsel R.          $513.00     0.1          $51.30
                                  Swanson, D. Mura (WEC), P. Wang,
                                  D. Heffer (Foley), J. Johnston, S.
                                  Minars, M. Cohen, R. Strahle and D.
                                  McGonigle (all Deloitte) to discuss IA
                                  selection and arbitration status
   Strahle, Robert                Call with client and counsel R.          $513.00     0.1          $51.30
                                  Swanson, D. Mura (WEC), P. Wang,
                                  D. Heffer (Foley), J. Johnston, S.
                                  Minars, M. Cohen, T. Stafford and D.
                                  McGonigle (all Deloitte) to discuss IA
                                  selection and arbitration status
    Subtotal for Litigation:                                                          59.8    $28,988.10
Total                                                                                 65.8    $31,826.10




                                             Recapitulation
        Name                                                      Rate      Hours            Fees
        Cohen, Mark                                          $592.00          4.5       $2,664.00
        Johnston, Josh                                       $592.00          4.3       $2,545.60
        Minars, Scott                                        $592.00          9.5       $5,624.00
        Stafford, Ted                                        $513.00         11.8       $6,053.40
        Strahle, Robert                                      $513.00          1.2        $615.60


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                               Recapitulation
Name                                               Rate     Hours            Fees
McGonigle, David                              $473.00        19.5        $9,223.50
Hommen, Kelly                                 $340.00         1.3         $442.00
Letts, Joshua                                 $340.00        13.7        $4,658.00




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Date                          Description                                 Rate    Hours       Fees

Accounting Consultative Services
06/05/2017
   McGonigle, David           Updated tax memorandum including          $473.00     1.2    $567.60
                              supporting exhibits based on finalized
                              opening balance sheet.
06/15/2017
   McGonigle, David           Reviewed newly provided construction      $473.00     0.6    $283.80
                              activity material and corresponding
                              email request to update ASC740 tax
                              memo
   McGonigle, David           Discussion with S. Minars (Deloitte)      $473.00     0.3    $141.90
                              regarding additional information
                              needed from the Client to update the
                              ASC740 tax memo
   Minars, Scott              Read email correspondence and             $592.00     0.8    $473.60
                              studied accounting question relating to
                              deferred taxes
   Minars, Scott              Discussion with D. McGonigle              $592.00     0.3    $177.60
                              (Deloitte) regarding additional
                              information needed from the Client to
                              update the ASC740 tax memo
06/27/2017
   McGonigle, David           Meeting with K. Brady (WEC), S.           $473.00     0.5    $236.50
                              Minars (Deloitte) to discuss ASC 805
                              tax memo
   Subtotal for Accounting Consultative Services:                                   3.7   $1,881.00

Litigation
06/02/2017
   McGonigle, David           Reviewed similar construction             $473.00     2.7   $1,277.10
                              arbitration case to prepare key take-
                              away slides for the arbitration
06/03/2017
   Stafford, Ted              Engagement planning related to            $513.00     0.2    $102.60
                              search for new independent auditor
                              and on-going arbitration process.
06/04/2017
   Stanton, Steven            Reviewed purchase agreement under         $592.00     0.5    $296.00
                              dispute between WEC and CB&I


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Date                        Description                                  Rate    Hours       Fees

Litigation
06/05/2017
   Cohen, Mark              Meeting to discuss bankruptcy              $592.00     0.1     $59.20
                            proceedings and internal team
                            structure going forward with T.
                            Stafford, R. Strahle, D. McGonigle, J.
                            Letts and K. Hommen (all Deloitte)
   Cohen, Mark              Call with C. Daigle (Marsh) regarding      $592.00     0.4    $236.80
                            status update of the Independent
                            Auditor ("IA") process
   Hommen, Kelly            Meeting to discuss bankruptcy              $340.00     0.1     $34.00
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            T. Stafford, R. Strahle, D. McGonigle
                            and J. Letts (all Deloitte)
   Letts, Joshua            Meeting to discuss bankruptcy              $340.00     0.1     $34.00
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            T. Stafford, R. Strahle, D. McGonigle
                            and K. Hommen (all Deloitte)
   McGonigle, David         Meeting to discuss bankruptcy              $473.00     0.1     $47.30
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            T. Stafford, R. Strahle, J. Letts and K.
                            Hommen (all Deloitte)
   McGonigle, David         Finished the review of a similar case in   $473.00     1.1    $520.30
                            connection with preparing a
                            presentation for strategy impacts on
                            the purchase price dispute.
   McGonigle, David         Updated team schedule input template       $473.00     0.7    $331.10
                            based on new timeline estimates
   McGonigle, David         Prepared presentation summarizing          $473.00     3.0   $1,419.00
                            similar dispute and lessons to
                            implement for current dispute litigation
   McGonigle, David         Prepared presentation summarizing          $473.00     1.0    $473.00
                            similar dispute and strategy to
                            implement for current dispute litigation
   Stafford, Ted            Meeting to discuss bankruptcy              $513.00     0.1     $51.30
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (all Deloitte)


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Date                        Description                                 Rate    Hours      Fees

Litigation
06/05/2017
   Stafford, Ted            Prepare summary of arbitration            $513.00     0.7    $359.10
                            materials and timeline.
   Stanton, Steven          Continued review of the purchase          $592.00     0.3    $177.60
                            agreement under dispute between
                            WEC and CB&I
   Strahle, Robert          Meeting to discuss bankruptcy             $513.00     0.1     $51.30
                            proceedings and internal team
                            structure going forward with M. Cohen,
                            R. Strahle, D. McGonigle, J. Letts and
                            K. Hommen (all Deloitte)
06/06/2017
   Cohen, Mark              Call with T. Baird (WEC) to schedule      $592.00     0.3    $177.60
                            meeting with Deloitte, WEC and Foley
                            teams regarding analysis for the
                            disputed net working capital ("NWC")
                            calculation
   Cohen, Mark              Conference call with S. Stanton           $592.00     0.7    $414.40
                            (Deloitte) to discuss overall status of
                            the IA process
   Stanton, Steven          Conference call with M. Cohen             $592.00     0.7    $414.40
                            (Deloitte) to discuss overall status of
                            the IA process
06/07/2017
   Cohen, Mark              Meeting to discuss upcoming client        $592.00     0.3    $177.60
                            meeting and timeline of project going
                            forward with S. Stanton, J. Larson, T.
                            Stafford, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
   Cohen, Mark              Discussion with T. Baird (WEC) on         $592.00     0.1     $59.20
                            scheduling in-person meeting
                            regarding IA process going forward for
                            June 21 or June 22
   Hommen, Kelly            Meeting to discuss upcoming client        $340.00     0.3    $102.00
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, T. Stafford, D. McGonigle and
                            J. Letts (all Deloitte)




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Date                        Description                                 Rate    Hours      Fees

Litigation
06/07/2017
   Larson, Jen              Meeting to discuss upcoming client        $513.00     0.3    $153.90
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, T.
                            Stafford, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
   Letts, Joshua            Meeting to discuss upcoming client        $340.00     0.3    $102.00
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, T. Stafford, D. McGonigle, K.
                            Hommen (all Deloitte)
   McGonigle, David         Meeting to discuss upcoming client        $473.00     0.3    $141.90
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, T. Stafford, J. Letts, K.
                            Hommen (all Deloitte)
   Stafford, Ted            Meeting to discuss upcoming client        $513.00     0.3    $153.90
                            meeting and timeline of project going
                            forward with M. Cohen, S. Stanton, J.
                            Larson, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
   Stafford, Ted            Analysis of arbitration determinations    $513.00     0.5    $256.50
                            and disputes.
   Stanton, Steven          Meeting to discuss upcoming client        $592.00     0.3    $177.60
                            meeting and timeline of project going
                            forward with M. Cohen, J. Larson, T.
                            Stafford, D. McGonigle, J. Letts, K.
                            Hommen (all Deloitte)
06/08/2017
   Cohen, Mark              Discussion with T. Baird (WEC) on         $592.00     0.2    $118.40
                            scheduling in-person meeting
                            regarding IA process and coordination
                            of team resources going forward
   McGonigle, David         Updated presentation of similar dispute   $473.00     0.9    $425.70
                            and strategies to implement in current
                            dispute per notes from T. Stafford
                            (Deloitte)
06/09/2017
   Stanton, Steven          Continued review of the purchase          $592.00     0.4    $236.80
                            agreement under dispute between
                            WEC and CB&I

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Litigation
06/12/2017
   Cohen, Mark              Call with S. Minars (Deloitte) on          $592.00     0.2    $118.40
                            logistics for in-person meeting
                            regarding the IA process going-forward
                            with WEC and Foley
   Minars, Scott            Call with M. Cohen (Deloitte) on           $592.00     0.2    $118.40
                            logistics for in-person meeting
                            regarding the IA process going-forward
                            with WEC and Foley
06/13/2017
   Cohen, Mark              Call with T. Baird (WEC) regarding         $592.00     0.3    $177.60
                            planning for meeting with WEC,
                            Deloitte and Foley on 6/22 related to
                            the IA process going forward
   Cohen, Mark              Call with S. Minars (Deloitte) regarding   $592.00     0.2    $118.40
                            preparation for in-person meeting with
                            WEC and Foley pertaining to the IA
                            process going-forward
   McGonigle, David         Updated presentation of strategic 'keys    $473.00     1.0    $473.00
                            for arbitration' based on S. Minars'
                            notes.
   Minars, Scott            Call with M. Cohen (Deloitte) regarding    $592.00     0.2    $118.40
                            preparation for in-person meeting with
                            WEC and Foley pertaining to the IA
                            process going-forward
   Stafford, Ted            Draft email on auditor process to D.       $513.00     0.2    $102.60
                            Heffer and P. Wang (Foley)
06/14/2017
   Cohen, Mark              Meeting to discuss upcoming meeting        $592.00     1.0    $592.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Cohen, Mark              Call with R. Mercado (Marcum) on           $592.00     0.8    $473.60
                            ongoing status of engagement and
                            research of construction experts to
                            serve as subject matter experts




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Litigation
06/14/2017
   Hommen, Kelly            Meeting to discuss upcoming meeting        $340.00     1.0    $340.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, M.
                            Cohen (Deloitte).
   Larson, Jen              Meeting to discuss upcoming meeting        $513.00     1.0    $513.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, M. Cohen, D. McGonigle,
                            K. Hommen (Deloitte).
   McGonigle, David         Meeting to discuss upcoming meeting        $473.00     1.0    $473.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, M. Cohen, K.
                            Hommen (Deloitte).
   McGonigle, David         Reviewed and updated project working       $473.00     0.4    $189.20
                            group list
   Minars, Scott            Meeting to discuss upcoming meeting        $592.00     1.0    $592.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with M. Cohen, S. Stanton, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Stafford, Ted            Meeting to discuss upcoming meeting        $513.00     1.0    $513.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, M. Cohen,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Stafford, Ted            Call with J. Egertson (self employed       $513.00     0.5    $256.50
                            consultant) regarding arbitration
                            proceeding status.
   Stafford, Ted            Draft email on auditor process to D.       $513.00     0.2    $102.60
                            Heffer and P. Wang (Foley)
   Stafford, Ted            Research of internal auditor selection     $513.00     0.3    $153.90
                            for arbitration proceeding.




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Date                        Description                                  Rate    Hours       Fees

Litigation
06/14/2017
   Stanton, Steven          Meeting to discuss upcoming meeting        $592.00     1.0    $592.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, M. Cohen, T. Stafford,
                            R. Strahle, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
   Stanton, Steven          Analyzed schedule 11.1(a) in the           $592.00     0.5    $296.00
                            purchase agreement
   Strahle, Robert          Meeting to discuss upcoming meeting        $513.00     1.0    $513.00
                            with client on potential IA candidates,
                            and timeline for revamping of project
                            with S. Minars, S. Stanton, T. Stafford,
                            M. Cohen, J. Larson, D. McGonigle, K.
                            Hommen (Deloitte).
06/16/2017
   Stanton, Steven          Reviewed submissions to the delaware       $592.00     0.5    $296.00
                            supreme court regarding IA process
06/18/2017
   Larson, Jen              Review the Verified Complaint and          $513.00     2.6   $1,333.80
                            CB&I Appeal.
06/19/2017
   Cohen, Mark              Meeting to discuss in-person meeting       $592.00     0.1     $59.20
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with T. Stafford, R. Strahle,
                            K. Hommen (Deloitte)
   Hommen, Kelly            Meeting to discuss in-person meeting       $340.00     0.1     $34.00
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with T. Stafford, R. Strahle,
                            M. Cohen (Deloitte)
   Stafford, Ted            Meeting to discuss in-person meeting       $513.00     0.1     $51.30
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with M. Cohen, R. Strahle,
                            K. Hommen (Deloitte)




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Date                        Description                                Rate    Hours       Fees

Litigation
06/19/2017
   Strahle, Robert          Meeting to discuss in-person meeting     $513.00     0.1     $51.30
                            with WEC on 6/22 pertaining to the IA
                            process going forward and potential IA
                            candidates with T. Stafford, M. Cohen,
                            K. Hommen (Deloitte)
06/20/2017
   Larson, Jen              Reviewed Chicago Bridge & Iron           $513.00     0.4    $205.20
                            (CB&I) Closing Payment Statement.
   Larson, Jen              Reviewed WEC's Closing Statement.        $513.00     0.4    $205.20
   Larson, Jen              Reviewed CB&I's Objection Notice.        $513.00     1.0    $513.00
06/21/2017
   Hommen, Kelly            Meeting to discuss upcoming meeting      $340.00     0.2     $68.00
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, J.
                            Larson, D. McGonigle and J. Letts
                            (Deloitte)
   Larson, Jen              Meeting to discuss upcoming meeting      $513.00     0.2    $102.60
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte)
   Larson, Jen              Review the Purchase Agreement            $513.00     2.4   $1,231.20
                            between CB&I and WEC
   Larson, Jen              Analyzed schedules 1.4(f) related to     $513.00     0.3    $153.90
                            WEC's acquisition of CB&I Stone &
                            Webster
   Larson, Jen              Analyzed schedules 11.1(a) related to    $513.00     0.6    $307.80
                            WEC's acquisition of CB&I Stone &
                            Webster
   Letts, Joshua            Meeting to discuss upcoming meeting      $340.00     0.2     $68.00
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, J.
                            Larson, D. McGonigle and K. Hommen
                            (Deloitte)
   Letts, Joshua            Updated listing of potential             $340.00     0.2     $68.00
                            independent auditor ("IA") candidates

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Litigation
06/21/2017
   McGonigle, David         Meeting to discuss upcoming meeting      $473.00     0.2     $94.60
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, T. Stafford, R. Strahle, J.
                            Larson, J. Letts and K. Hommen
                            (Deloitte)
   Minars, Scott            Meeting to discuss upcoming meeting      $592.00     0.2    $118.40
                            with client regarding Independent
                            Auditors ("IA") candidates with T.
                            Stafford, R. Strahle, J. Larson, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte)
   Stafford, Ted            Meeting to discuss upcoming meeting      $513.00     0.2    $102.60
                            with client regarding Independent
                            Auditors ("IA") candidates with S.
                            Minars, R. Strahle, J. Larson, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte)
06/22/2017
   Cohen, Mark              Meeting with P. Wang, D. Heffer          $592.00     3.1   $1,835.20
                            (Foley), T. Baird, R Swanson (WEC),
                            S. Minars, J. Larson, T. Stafford, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitr
   Larson, Jen              Review the Grant Thornton                $513.00     0.9    $461.70
                            determination letter.
   Larson, Jen              Meeting with P. Wang, D. Heffer          $513.00     3.1   $1,590.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, T. Stafford, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitra
   Larson, Jen              Read 9-2-16 Defendant's Opening          $513.00     2.0   $1,026.00
                            Brief ISO Motion for Judgment on the
                            Pleading.



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Litigation
06/22/2017
   Larson, Jen              Read 10-17-16 Defendants Reply Brief       $513.00     0.7    $359.10
                            ISO their Motion for Judgment.
   McGonigle, David         Meeting with P. Wang, D. Heffer            $473.00     3.1   $1,466.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, J. Larson, T.
                            Stafford and R. Strahle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitratio
   McGonigle, David         Gathered files regarding historical        $473.00     0.8    $378.40
                            accounting for the loss reserve, margin
                            fair value and related legal memos.
   Minars, Scott            Meeting with P. Wang, D. Heffer            $592.00     3.1   $1,835.20
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, J. Larson, T. Stafford, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitra
   Stafford, Ted            Review and organize prior arbitration      $513.00     0.4    $205.20
                            submissions by CB&I.
   Stafford, Ted            Draft email to P. Wang and D. Heffer       $513.00     0.1     $51.30
                            (Foley) related to prior arbitration
                            submissions by CB&I.
   Stafford, Ted            Drafting email to T. Baird (WEC)           $513.00     0.1     $51.30
                            related to prior arbitration submissions
                            by CB&I.
   Stafford, Ted            Meeting with P. Wang, D. Heffer            $513.00     3.1   $1,590.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, J. Larson, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitrati
   Stafford, Ted            Perform analysis of historical net         $513.00     0.4    $205.20
                            working capital (NWC) calculations and
                            documentation.



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Date                        Description                                  Rate    Hours       Fees

Litigation
06/22/2017
   Strahle, Robert          Meeting with P. Wang, D. Heffer            $513.00     3.1   $1,590.30
                            (Foley), T. Baird, R Swanson (WEC),
                            M. Cohen, S. Minars, J. Larson, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss Independent Auditor (" IA")
                            selection process, status of the
                            Delaware supreme court ruling, and
                            arbitrat
06/23/2017
   Letts, Joshua            Pulled documents (legal memos) from        $340.00     1.0    $340.00
                            relativity for T. Baird and R. Swanson
                            (WEC) pursuant to their request.
   McGonigle, David         Gathered historical accounting             $473.00     0.4    $189.20
                            memoranda for costs and estimated
                            earnings in excess of billings (CIE) /
                            billings in excess of Debtors' costs and
                            estimated earnings (BIE) balances
   Stafford, Ted            Review of historical accounting / legal    $513.00     0.3    $153.90
                            memos for arbitration
06/25/2017
   Letts, Joshua            Uploaded legal memos to the                $340.00     0.3    $102.00
                            SharePoint for T. Baird and R.
                            Swanson (WEC)
06/27/2017
   Cohen, Mark              Preliminary review of Delaware             $592.00     0.5    $296.00
                            supreme court decision regarding the
                            IA dispute process received from P
                            Wang and D Heffer (Foley)
   Cohen, Mark              Discussion with S. Minars (Deloitte) on    $592.00     0.6    $355.20
                            the Delaware supreme court decision
                            on the arbitration process
   McGonigle, David         Review of Delaware supreme court           $473.00     1.5    $709.50
                            decision regarding the IA dispute
                            process received from P. Wang and D.
                            Heffer (Foley)




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Litigation
06/27/2017
   McGonigle, David         Meeting with P. Wang, D. Heffer           $473.00     1.0    $473.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), S. Minars, T. Stafford
                            and R. Strahle (Deloitte) to discuss
                            Delaware Delaware supreme court
                            decision's impact on the arbitration
                            process going forward
   Minars, Scott            Continued analysis of ruling from         $592.00     0.8    $473.60
                            Delaware Supreme Court regarding
                            the IA process going forward
   Minars, Scott            Preparation of discussion points for      $592.00     0.9    $532.80
                            meeting with WEC and Foley
                            pertaining to the Delaware supreme
                            court's ruling regarding the IA process
                            going forward
   Minars, Scott            Discussion with M. Cohen (Deloitte) on    $592.00     0.6    $355.20
                            the Delaware supreme court decision
                            on the arbitration process
   Minars, Scott            Meeting with P. Wang, D. Heffer           $592.00     1.0    $592.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), D. McGonigle, T. Stafford
                            and R. Strahle (Deloitte) to discuss
                            Delaware supreme court decision's
                            impact on the arbitration process going
                            forward
   Minars, Scott            Review of Delaware supreme court          $592.00     1.2    $710.40
                            decision regarding the IA dispute
                            process received from P. Wang and D.
                            Heffer (Foley)
   Stafford, Ted            Meeting with P. Wang, D. Heffer           $513.00     1.0    $513.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), S. Minars, D. McGonigle
                            and R. Strahle (Deloitte) to discuss
                            Delaware supreme court decision's
                            impact on the arbitration process going
                            forward
   Stafford, Ted            Analysis of Delaware supreme court        $513.00     0.6    $307.80
                            decision on arbitration proceeding.




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Litigation
06/27/2017
   Strahle, Robert          Meeting with P. Wang, D. Heffer           $513.00     1.0    $513.00
                            (Foley), M. Sweeny, R. Swanson, D.
                            Mura (WEC), S. Minars, T. Stafford
                            and D. McGonigle (Deloitte) to discuss
                            Delaware supreme court decision's
                            impact on the arbitration process going
                            forward
06/28/2017
   Cohen, Mark              Detailed review of Delaware supreme       $592.00     0.6    $355.20
                            court decision regarding the IA process
                            going-forward
   Cohen, Mark              Call with R. Mercado (Marcum)             $592.00     0.3    $177.60
                            regarding Delaware supreme court
                            decision related to the IA process
                            going forward
   Hommen, Kelly            Reviewed Delaware supreme courts          $340.00     2.0    $680.00
                            ruling regarding the IA process going
                            forward
   McGonigle, David         Meeting with S. Minars, T. Stafford       $473.00     0.4    $189.20
                            (Deloitte) to discuss strategy for
                            preparing an outline and presentation
                            for arbitration going forward.
   McGonigle, David         Summarized Delaware supreme court         $473.00     1.3    $614.90
                            statements (as they pertain to the
                            disputed NWC) that have an impact on
                            the IA process going-forward.
   McGonigle, David         Prepared a summary of potential IA        $473.00     2.4   $1,135.20
                            claims going forward.
   McGonigle, David         Finished summary of potential IA          $473.00     2.3   $1,087.90
                            claims going forward.
   Minars, Scott            Continued analysis of ruling from         $592.00     2.3   $1,361.60
                            Delaware Supreme Court
   Minars, Scott            Reviewed re-assessment of Net             $592.00     1.1    $651.20
                            Working Capital items
   Minars, Scott            Reviewed discussion materials on the      $592.00     0.4    $236.80
                            impact of the Delaware supreme
                            court's decision of IA process going-
                            forward




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Litigation
06/28/2017
   Minars, Scott          Meeting with T. Stafford and D.            $592.00     0.4    $236.80
                          McGonigle (Deloitte) to discuss
                          strategy for preparing an outline and
                          presentation for arbitration going
                          forward.
   Stafford, Ted          Review of analysis arbitration disputed    $513.00     1.2    $615.60
                          items listing.
   Stafford, Ted          Meeting with S. Minars and D.              $513.00     0.4    $205.20
                          McGonigle (Deloitte) to discuss
                          strategy for preparing an outline and
                          presentation for arbitration going
                          forward.
06/29/2017
   Cohen, Mark            Meeting with P. Wang, D. Heffer            $592.00     0.8    $473.60
                          (Foley), R. Swanson, D. Mura (WEC),
                          S. Minars, S. Stanton, R. Strahle, T.
                          Stafford and D. McGonigle (Deloitte) to
                          discuss arbitration claims.
   Cohen, Mark            Meeting to discuss outcome of the          $592.00     0.1     $59.20
                          Delaware Supreme court hearing and
                          immediate action items resulting from
                          the decision with S. Minars, D.
                          McGonigle, J. Letts and K. Hommen
                          (all Deloitte)
   Hommen, Kelly          Meeting to discuss outcome of the          $340.00     0.1     $34.00
                          Delaware Supreme court hearing and
                          immediate action items resulting from
                          the decision with S. Minars, M Cohen,
                          D. McGonigle and J. Letts (all Deloitte)
   Letts, Joshua          Researched relevant email                  $340.00     0.3    $102.00
                          communications to be used in IA
                          proceedings going-forward
   Letts, Joshua          Meeting to discuss outcome of the          $340.00     0.1     $34.00
                          Delaware Supreme court hearing and
                          immediate action items resulting from
                          the decision with S. Minars, M Cohen,
                          D. McGonigle and K. Hommen (all
                          Deloitte)




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Litigation
06/29/2017
   McGonigle, David         Meeting with P. Wang, D. Heffer           $473.00     0.8    $378.40
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, M Cohen, R.
                            Strahle and T. Stafford (Deloitte) to
                            discuss arbitration claims.
   McGonigle, David         Update schedules cost and revenue         $473.00     1.0    $473.00
                            estimate at completion ("EAC") for
                            potential claims going forward
   McGonigle, David         Updated schedule of potential IA          $473.00     2.7   $1,277.10
                            candidates going forward based on
                            notes from team
   McGonigle, David         Meeting to discuss outcome of the         $473.00     0.1     $47.30
                            Delaware Supreme court hearing and
                            immediate action items resulting from
                            the decision with S. Minars, M Cohen,
                            J. Letts and K. Hommen (all Deloitte)
   Minars, Scott            Meeting to discuss outcome of the         $592.00     0.1     $59.20
                            Delaware Supreme court hearing and
                            immediate action items resulting from
                            the decision with M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (all Deloitte)
   Minars, Scott            Meeting with P. Wang, D. Heffer           $592.00     0.8    $473.60
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Stanton, M Cohen, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Minars, Scott            Continued analysis of ruling from         $592.00     1.4    $828.80
                            Delaware Supreme Court on the IA
                            process going-forward
   Minars, Scott            Updated discussion materials on the       $592.00     0.6    $355.20
                            impact of the Delaware supreme
                            court's decision of IA process going-
                            forward
   Stafford, Ted            Meeting with P. Wang, D. Heffer           $513.00     0.8    $410.40
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, M Cohen, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Stafford, Ted            Analysis of Delaware supreme court        $513.00     0.3    $153.90
                            decision on arbitration.

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Date                        Description                                 Rate    Hours       Fees

Litigation
06/29/2017
   Stanton, Steven          Meeting with P. Wang, D. Heffer           $592.00     0.8    $473.60
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, M Cohen, R. Strahle, T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Stanton, Steven          Reviewed Delaware supreme courts          $592.00     0.7    $414.40
                            ruling regarding the IA process going
                            forward
   Strahle, Robert          Meeting with P. Wang, D. Heffer           $513.00     0.8    $410.40
                            (Foley), R. Swanson, D. Mura (WEC),
                            S. Minars, S. Stanton, M Cohen T.
                            Stafford and D. McGonigle (Deloitte) to
                            discuss arbitration claims.
   Strahle, Robert          Reviewed Delaware supreme courts          $513.00     2.0   $1,026.00
                            ruling regarding the IA process going
                            forward
06/30/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, T.    $592.00     0.9    $532.80
                            Stafford, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Letts, Joshua            Discussed document review files           $340.00     0.3    $102.00
                            regarding purchase agreement sample
                            calculation with R. Strahle (Deloitte)
   McGonigle, David         Meeting with S. Minars, S. Stanton, M     $473.00     0.9    $425.70
                            Cohen, T. Stafford and M. Strahle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Minars, Scott            Meeting with S. Stanton, M Cohen, T.      $592.00     0.9    $532.80
                            Stafford, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.
   Stafford, Ted            Meeting with S. Minars, S. Stanton, M     $513.00     0.9    $461.70
                            Cohen, M. Strahle and D. McGonigle
                            (Deloitte) to discuss Delaware
                            supreme court decision and arbitration
                            going-forward.


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Litigation
06/30/2017
   Stanton, Steven               Meeting with S. Minars, M Cohen, T.      $592.00     0.5     $296.00
                                 Stafford, M. Strahle and D. McGonigle
                                 (Deloitte) to discuss Delaware
                                 supreme court decision and arbitration
                                 going-forward. Had to leave meeting
                                 prior to completion.
   Strahle, Robert               Meeting with S. Minars, S. Stanton, M    $513.00     0.9     $461.70
                                 Cohen, T. Stafford and D. McGonigle
                                 (Deloitte) to discuss Delaware
                                 supreme court decision and arbitration
                                 going-forward.
   Strahle, Robert               Discussed document review files          $513.00     0.3     $153.90
                                 regarding purchase agreement sample
                                 calculation with J. Letts (Deloitte)
   Strahle, Robert               Reviewed Delaware supreme courts         $513.00     0.2     $102.60
                                 ruling regarding the IA process going
                                 forward
   Subtotal for Litigation:                                                         112.0   $57,835.20

Non-Working Travel
06/21/2017
   Stafford, Ted                 Travel time to NYC for meetings with     $256.50     3.1     $795.15
                                 Foley and WEC
06/22/2017
   Stafford, Ted                 Travel time from NYC for meetings        $256.50     1.5     $384.75
                                 with Foley and WEC
   Subtotal for Non-Working Travel:                                                   4.6    $1,179.90

Preparation of Fee Applications
06/06/2017
   Cooper, Carla                 Review time reports for April monthly    $350.00     1.1     $385.00
                                 fee statement
06/07/2017
   Cooper, Carla                 Continue preparation of April monthly    $350.00     2.6     $910.00
                                 fee statement.




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Preparation of Fee Applications
06/07/2017
   Cooper, Carla                Review time reports in preparation of    $350.00     2.9     $1,015.00
                                April monthly fee statement
06/08/2017
   Cooper, Carla                Review April time reports in             $350.00     2.1      $735.00
                                preparation of fee statement
06/12/2017
   Cooper, Carla                Review expense reports for April         $350.00     2.3      $805.00
                                monthly fee statement.
06/14/2017
   Cooper, Carla                Email correspondence with                $350.00     0.2          $70.00
                                engagement team regarding April fee
                                detail reports
   Cooper, Carla                Review time reports for April monthly    $350.00     2.9     $1,015.00
                                fee statement
06/28/2017
   Cooper, Carla                Review time reports for May monthly      $350.00     2.5      $875.00
                                fee statement
    Subtotal for Preparation of Fee Applications:                                   16.6     $5,810.00
Total                                                                              136.9    $66,706.10




                                           Recapitulation
        Name                                                   Rate       Hours            Fees
        Cohen, Mark                                       $592.00          11.6       $6,867.20
        Minars, Scott                                     $592.00          18.3      $10,833.60
        Stanton, Steven                                   $592.00           6.2       $3,670.40
        Larson, Jen                                       $513.00          15.9       $8,156.70
        Stafford, Ted                                     $513.00          13.9       $7,130.70
        Strahle, Robert                                   $513.00           9.5       $4,873.50
        McGonigle, David                                  $473.00          33.7      $15,940.10
        Cooper, Carla                                     $350.00          16.6       $5,810.00


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          Fees Sorted by Category for the Fee Period
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                                Recapitulation
Name                                                Rate      Hours          Fees
Hommen, Kelly                                  $340.00          3.8      $1,292.00
Letts, Joshua                                  $340.00          2.8       $952.00
Stafford, Ted                                  $256.50          4.6      $1,179.90




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                         Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
                   Fees Sorted by Category for the Fee Period
                                      July 01, 2017 - July 31, 2017

Date                        Description                                   Rate    Hours      Fees

Accounting Consultative Services
07/14/2017
   Minars, Scott            Review and assess draft materials for       $592.00     0.9    $532.80
                            meeting with WEC BOD and Foley
                            regarding ongoing post-closing dispute
                            scheduled for Monday July 17, 2017
07/22/2017
   Donohue, Alycia          Meeting with S. Minars (Deloitte) to        $592.00     1.0    $592.00
                            discuss update to WEC year end
                            accounting matters
   Minars, Scott            Meeting with A. Donohue (Deloitte) to       $592.00     1.0    $592.00
                            discuss update to WEC year end
                            accounting matters
07/25/2017
   McGonigle, David         Reviewed updated cost estimates             $473.00     2.0    $946.00
                            provided for the Vogtle and VC
                            Summer nuclear construction projects.
   McGonigle, David         Meeting with S. Minars (Deloitte) to        $473.00     0.4    $189.20
                            discuss the update to ASC740 memo.
   McGonigle, David         Meeting with S. Minars (Deloitte) to        $473.00     0.5    $236.50
                            discuss the tax impact to include in
                            ASC740 memo for the bankruptcy.
   Minars, Scott            Meeting with G. McGonigle (Deloitte)        $592.00     0.5    $296.00
                            to discuss the tax impact to include in
                            ASC740 memo for the bankruptcy.
   Minars, Scott            Meeting with G. McGonigle (Deloitte)        $592.00     0.4    $236.80
                            to discuss the update to ASC740
                            memo.
07/26/2017
   McGonigle, David         Meeting with S. Minars and E. Tzavelis      $473.00     0.2     $94.60
                            (Deloitte) to discuss the accounting for
                            the post-petition deferred tax asset
                            taxes associated with the VC Summer
                            and Vogtle project liabilities related to
                            tax memo prepared for WEC.
   McGonigle, David         Meeting with S. Minars and L. Sturiale      $473.00     0.4    $189.20
                            (Deloitte) to discuss the accounting for
                            the post-petition deffered tax asset
                            taxes associated with the VC Summer
                            and Vogtle project liabilities related to
                            tax memo prepared for WEC.

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                         Westinghouse Electric Company
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Date                        Description                                 Rate    Hours       Fees

Accounting Consultative Services
07/26/2017
   McGonigle, David         Updated ASC 740 memo for project          $473.00     2.0    $946.00
                            activity
   Minars, Scott            Meeting with L. Sturiale and D.           $592.00     0.4    $236.80
                            McGonigle (Deloitte) to discuss the
                            accounting for the post-petition DTA
                            taxes associated with the project
                            liabilities.
   Minars, Scott            Meeting with E. Tzavelis and D.           $592.00     0.2    $118.40
                            McGonigle (Deloitte) to discuss the
                            accounting for the post-petition DTA
                            taxes associated with the project
                            liabilities.
   Sturiale, Lisa           Meeting with S. Minars and D.             $592.00     0.4    $236.80
                            McGonigle (Deloitte) to discuss the
                            accounting for the post-petition DTA
                            taxes associated with the project
                            liabilities.
07/27/2017
   McGonigle, David         Updated schedules related to tax          $473.00     3.0   $1,419.00
                            memo prepared for WEC based on
                            post-bankruptcy discussions with S.
                            Minars (DT) and WEC.
   McGonigle, David         Meeting with S. Minars and L. Sturiale    $473.00     0.5    $236.50
                            (Deloitte) to discuss bankruptcy impact
                            of tax balances for the ASC 740
                            memorandum.
   McGonigle, David         Reviewed ranges of liability in expert    $473.00     0.6    $283.80
                            report related to ongoing post-closing
                            dispute for impact on tax memo being
                            prepared for WEC.
   McGonigle, David         Meeting with K. Brady, W. Heinricher      $473.00     0.5    $236.50
                            (WEC) and L. Sturiale (Deloitte) to
                            discuss accounting for the ASC 740
                            memorandum.
   McGonigle, David         Meeting with S. Minars, L. Sturiale and   $473.00     0.4    $189.20
                            T. Sasso (Deloitte) to discuss
                            bankruptcy impact of tax balances for
                            the ASC 740 memorandum.
   McGonigle, David         Reviewed project accounting material      $473.00     0.3    $141.90
                            to prepare for call with K Brady and W
                            Heinricher (WEC) regarding same

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                    Fees Sorted by Category for the Fee Period
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Date                          Description                                 Rate    Hours        Fees

Accounting Consultative Services
07/27/2017
   Minars, Scott              Meeting with L. Sturiale, T. Sasso and    $592.00     0.4     $236.80
                              D. McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
   Minars, Scott              Meeting with L. Sturiale and D.           $592.00     0.5     $296.00
                              McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
   Sturiale, Lisa             Meeting with S. Minars, T. Sasso and      $592.00     0.4     $236.80
                              D. McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
   Sturiale, Lisa             Meeting with K. Brady, W. Heinricher      $592.00     0.5     $296.00
                              (WEC) and D. McGonigle (Deloitte) to
                              discuss accounting for the ASC 740
                              memorandum.
   Sturiale, Lisa             Meeting with S. Minars and D.             $592.00     0.5     $296.00
                              McGonigle (Deloitte) to discuss
                              bankruptcy impact of tax balances for
                              the ASC 740 memorandum.
07/28/2017
   McGonigle, David           Updated ASC 740 Memo based on S.          $473.00     2.9    $1,371.70
                              Minar's (Deloitte) notes
   Minars, Scott              Review of ASC740 memorandum draft         $592.00     1.8    $1,065.60
                              and the supporting information
                              provided by WEC
07/31/2017
   Sturiale, Lisa             Review tax accounting memo for Loss       $592.00     0.5     $296.00
                              contingency and send document to K.
                              Brady (WEC)
   Subtotal for Accounting Consultative Services:                                  23.1   $12,044.90

Dispute Consulting
07/01/2017
   Stanton, Steven            Reviewed case document related to         $592.00     1.9    $1,124.80
                              ongoing legal proceedings in Delaware
                              courts related to post-acquisiton
                              dispute


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                 Fees Sorted by Category for the Fee Period
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Date                           Description                                 Rate    Hours       Fees

Dispute Consulting
07/01/2017
   Stanton, Steven             Continued to review case document         $592.00     2.1   $1,243.20
                               related to ongoing legal proceedings in
                               Delaware courts related to post-
                               acquisiton dispute
07/02/2017
   Stanton, Steven             Reviewed case document related to         $592.00     3.0   $1,776.00
                               ongoing legal proceedings in Delaware
                               courts related to post-acquisiton
                               dispute
07/06/2017
   Stanton, Steven             Continued to review case document         $592.00     2.8   $1,657.60
                               related to ongoing legal proceedings in
                               Delaware courts related to post-
                               acquisiton dispute
07/13/2017
   Cohen, Mark                 Review of presentation deck provided      $592.00     0.8    $473.60
                               by D. Heffer (Foley) in preparation for
                               meeting with WEC Board and Foley
                               regarding post-acquisition dispute.
   Stanton, Steven             Reviewed presentation materials           $592.00     1.2    $710.40
                               regarding ongoing post-closig dispute
                               provided by D. Heffer (Foley) ahead of
                               Meeting with WEC Board and Foley.
07/14/2017
   Stanton, Steven             Reviewed Case Document related to         $592.00     0.5    $296.00
                               ongoing legal proceedings in Delaware
                               courts related to post-acquisiton
                               dispute
07/21/2017
   Stanton, Steven             Reviewed proposed court order related     $592.00     0.9    $532.80
                               to ongoing post-acquisition dispute in
                               Delaware supreme court
   Subtotal for Dispute Consulting:                                                 13.2   $7,814.40




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                   Fees Sorted by Category for the Fee Period
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Date                       Description                                Rate    Hours       Fees

Litigation
07/05/2017
   Cohen, Mark             Call with R. Mercado (Marcum) to         $592.00     0.2    $118.40
                           discuss review of Delaware Supreme
                           court decision regarding post-
                           acquisition dispute and items for
                           consideration by Independent Auditor
                           ("IA")
   Cohen, Mark             Call with R. Strahle (Deloitte) to       $592.00     0.8    $473.60
                           discuss Delaware court decision and
                           items for consideration by Independent
                           Auditor ("IA") in preparation for
                           meeting with Foley
   Minars, Scott           Preparation for meeting with WEC         $592.00     2.7   $1,598.40
                           board and Foley regarding IA process
                           going forward
07/06/2017
   Minars, Scott           Continued preparation for meeting with   $592.00     1.3    $769.60
                           WEC board and Foley regarding IA
                           process going forward
   Minars, Scott           Meeting with P. Wang, D Heffer           $592.00     3.2   $1,894.40
                           (Foley), R. Swanson, T. Baird (WEC)
                           T. Stafford, R. Strahle and S. Stanton
                           (Deloitte) to discuss Delaware
                           supreme court decision related to
                           ongoing post-closing dispute and
                           arbitration going forward
   Stafford, Ted           Analysis of impact of Delaware           $513.00     0.8    $410.40
                           supreme court decision on arbitration.
   Stafford, Ted           Meeting with P. Wang, D Heffer           $513.00     3.2   $1,641.60
                           (Foley), R. Swanson, T. Baird (WEC),
                           S. Minars, R. Strahle and S. Stanton
                           (Deloitte) to discuss Delaware
                           supreme court decision related to
                           ongoing post-closing dispute and
                           arbitration going forward
   Stanton, Steven         Meeting with P. Wang, D Heffer           $592.00     3.2   $1,894.40
                           (Foley), R. Swanson, T. Baird (WEC),
                           S. Minars, T. Stafford and R. Strahle
                           (Deloitte) to discuss Delaware
                           supreme court decision related to
                           ongoing post-closing dispute and
                           arbitration going forward

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                          Westinghouse Electric Company
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                     Fees Sorted by Category for the Fee Period
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Litigation
07/06/2017
   Strahle, Robert          Meeting with P. Wang, D Heffer             $513.00     3.2   $1,641.60
                            (Foley), R. Swanson, T. Baird (WEC),
                            S. Minars, T. Stafford and S. Stanton
                            (Deloitte) to discuss Delaware
                            supreme court decision related to
                            ongoing post-closing dispute and
                            arbitration going forward
07/10/2017
   Cohen, Mark              Meeting with S. Minars, S. Stanton, J.     $592.00     0.8    $473.60
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Cohen, Mark              Call with T. Baird (WEC) regarding         $592.00     0.2    $118.40
                            Marcum's work efforts on the post-
                            acquisition dispute.
   Hommen, Kelly            Meeting with S. Minars, M. Cohen, S.       $340.00     0.8    $272.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Larson, Jen              Meeting with S. Minars, M. Cohen, S.       $513.00     0.8    $410.40
                            Stanton, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.       $340.00     0.8    $272.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.       $473.00     0.8    $378.40
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.


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Litigation
07/10/2017
   Minars, Scott            Meeting with M. Cohen, S. Stanton, J.      $592.00     0.8    $473.60
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.       $513.00     0.8    $410.40
                            Stanton, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, T.       $592.00     0.8    $473.60
                            Stafford, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
   Strahle, Robert          Meeting with S. Minars, S. Stanton, J.     $513.00     0.8    $410.40
                            Larson, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss prior meeting with
                            client and counsel regarding arbitration
                            strategy for moving forward.
07/11/2017
   Cohen, Mark              Meeting with R. Swanson, D. Mura, T.       $592.00     0.4    $236.80
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, S. Minars, R.
                            Strahle, T. Stafford and D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
   Cohen, Mark              Follow up with R. Mercado (Marcum)         $592.00     0.3    $177.60
                            based on conversation with T. Baird
                            (WEC) on ongoing work efforts
                            regarding the post-acquisition dispute.
   McGonigle, David         Meeting with R. Swanson, D. Mura, T.       $473.00     0.4    $189.20
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, S.
                            Minars, R. Strahle and T. Stafford
                            (Deloitte) to discuss the IA process
                            going forward.


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Date                        Description                                 Rate    Hours      Fees

Litigation
07/11/2017
   Minars, Scott            Meeting with R. Swanson, D. Mura, T.      $592.00     0.4    $236.80
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, R.
                            Strahle, T. Stafford, D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
   Stafford, Ted            Meeting with R. Swanson, D. Mura, T.      $513.00     0.4    $205.20
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, S.
                            Minars, R. Strahle and D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
   Stanton, Steven          Meeting with R. Swanson, D. Mura, T.      $592.00     0.4    $236.80
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), M. Cohen, S. Minars, R.
                            Strahle and D. McGonigle (Deloitte) to
                            discuss the IA process going forward.
   Strahle, Robert          Meeting with R. Swanson, D. Mura, T.      $513.00     0.4    $205.20
                            Baird (WEC), P. Wang, D. Foley
                            (Foley), S. Stanton, M. Cohen, S.
                            Minars, T. Stafford, D. McGonigle
                            (Deloitte) to discuss the IA process
                            going forward.
07/12/2017
   Cohen, Mark              Call with R. Strahle (Deloitte) to        $592.00     0.8    $473.60
                            prepare for meeting with WEC and
                            counsel regarding review of estimate to
                            complete / construction related items
   Cohen, Mark              Meeting with S. Minars, S. Stanton, J.    $592.00     0.7    $414.40
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.




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Litigation
07/12/2017
   Larson, Jen              Meeting with S. Minars, M. Cohen, S.      $513.00     0.7    $359.10
                            Stanton, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.      $340.00     0.7    $238.00
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, D. McGonigle and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding,
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.      $473.00     0.7    $331.10
                            Stanton, J. Larson, T. Stafford, R.
                            Strahle, J. Letts, and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Minars, Scott            Meeting with M. Cohen, S. Stanton, J.     $592.00     0.7    $414.40
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.      $513.00     0.7    $359.10
                            Stanton, J. Larson, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.




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Litigation
07/12/2017
   Stanton, Steven          Meeting with S. Minars, M. Cohen, J.       $592.00     0.7    $414.40
                            Larson, T. Stafford, R. Strahle, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
   Strahle, Robert          Call with M. Cohen (Deloitte) to           $513.00     0.8    $410.40
                            prepare for meeting with WEC and
                            counsel regarding review of estimate to
                            complete / construction related items
   Strahle, Robert          Meeting with S. Minars, S. Stanton, J.     $513.00     0.7    $359.10
                            Larson, T. Stafford, M. Cohen, D.
                            McGonigle, J. Letts and K. Hommen
                            (Deloitte) to discuss upcoming meeting
                            with client and board regarding
                            potential strategies related to ongoing
                            post-closing dispute and agenda
                            ahead of the meeting.
07/13/2017
   Letts, Joshua            Reviewed documents related to              $340.00     1.8    $612.00
                            Deloitte's analysis related to the post-
                            closing dispute prior to the bankruptcy
                            and withdrawal of independent auditor
                            for relevance ahead of meeting with
                            client and board.
   Minars, Scott            Review and assessment of draft             $592.00     0.5    $296.00
                            presentation materials for meeting with
                            WEC Board of Directors ("BOD")
                            regarding bankruptcy and ongoing
                            post-closing dispute.
   Stafford, Ted            Analysis on supreme court ruling on        $513.00     0.5    $256.50
                            disputed items.
07/14/2017
   Cohen, Mark              Conference call with P. Wang and D.        $592.00     0.2    $118.40
                            Heffer (Foley) and WEC personnel in
                            preparation for meeting in Pittsburgh
                            with Foley and WEC board regarding
                            post-acquisition dispute.


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Litigation
07/14/2017
   Cohen, Mark            Review of updated slide deck provided    $592.00     0.6    $355.20
                          by D. Heffer (Foley) to be used for
                          WEC Board meeting in Pittsburgh
                          regarding bankruptcy and ongoing
                          post-closing dispute.
07/17/2017
   Cohen, Mark            Preparation for meeting with client to   $592.00     1.0    $592.00
                          discuss bankruptcy and ongoing
                          arbitration process.
   Cohen, Mark            Meeting with S. Minars and T. Stafford   $592.00     1.2    $710.40
                          (Deloitte) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Cohen, Mark            Meeting with S. Minars, T. Stafford      $592.00     2.1   $1,243.20
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Cohen, Mark            Meeting with Client and Board to         $592.00     1.3    $769.60
                          discuss bankruptcy and ongoing
                          arbitration process with S. Minars, T.
                          Stafford (Deloitte), R. Swanson, D.
                          Mura, T. Baird (WEC), P. Wang and D.
                          Foley (Foley)
   Cohen, Mark            Debrief on meeting to discuss            $592.00     1.4    $828.80
                          bankruptcy and ongoing arbitration
                          process with S. Minars,T. Stafford
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley)
   Minars, Scott          Meeting with M. Cohen and T. Stafford    $592.00     1.2    $710.40
                          (Deloitte) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Minars, Scott          Meeting with M. Cohen, T. Stafford       $592.00     2.1   $1,243.20
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.

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                        Westinghouse Electric Company
                    Deloitte Financial Advisory Services LLP
                   Fees Sorted by Category for the Fee Period
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Date                      Description                                  Rate    Hours       Fees

Litigation
07/17/2017
   Minars, Scott          Meeting with Client and Board to           $592.00     1.3    $769.60
                          discuss bankruptcy and ongoing
                          arbitration process with M. Cohen, T.
                          Stafford (Deloitte), R. Swanson, D.
                          Mura, T. Baird (WEC), P. Wang and D.
                          Foley (Foley)
   Minars, Scott          Debrief on meeting to discuss              $592.00     1.4    $828.80
                          bankruptcy and ongoing arbitration
                          process with M. Cohen, T. Stafford
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley)
   Stafford, Ted          Meeting with Client and Board to           $513.00     1.3    $666.90
                          discuss bankruptcy and ongoing
                          arbitration process with S. Minars, M.
                          Cohen (Deloitte), R. Swanson, D.
                          Mura, T. Baird (WEC), P. Wang and D.
                          Foley (Foley)
   Stafford, Ted          Debrief on meeting to discuss              $513.00     1.4    $718.20
                          bankruptcy and ongoing arbitration
                          process with S. Minars, M. Cohen
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley)
   Stafford, Ted          Meeting with S. Minars and M. Cohen        $513.00     1.2    $615.60
                          (Deloitte) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
   Stafford, Ted          Meeting with S. Minars, M. Cohen           $513.00     2.1   $1,077.30
                          (Deloitte), R. Swanson, D. Mura, T.
                          Baird (WEC), P. Wang and D. Foley
                          (Foley) to prepare for meeting with
                          client to discuss bankruptcy and
                          ongoing arbitration process.
07/19/2017
   Cohen, Mark            Meeting with S. Minars, S. Stanton, T.     $592.00     0.2    $118.40
                          Stafford, D. McGonigle and J. Letts
                          (Deloitte) to discuss prior meeting with
                          client's Board and post-bankruptcy re-
                          engagement progress.



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                         Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
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Date                        Description                                  Rate    Hours      Fees

Litigation
07/19/2017
   Letts, Joshua            Meeting with S. Minars, M. Cohen, S.       $340.00     0.2     $68.00
                            Stanton, T. Stafford and D. McGonigle
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   McGonigle, David         Meeting with S. Minars, M. Cohen, S.       $473.00     0.2     $94.60
                            Stanton, T. Stafford and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   Minars, Scott            Meeting with M. Cohen, S. Stanton, T.      $592.00     0.2    $118.40
                            Stafford, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   Stafford, Ted            Meeting with S. Minars, M. Cohen, S.       $513.00     0.2    $102.60
                            Stanton, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
   Stanton, Steven          Meeting with S. Minars, M. Cohen, T.       $592.00     0.2    $118.40
                            Stafford, D. McGonigle and J. Letts
                            (Deloitte) to discuss prior meeting with
                            client's Board and post-bankruptcy re-
                            engagement progress.
07/21/2017
   Cohen, Mark              Review of proposed joint order             $592.00     0.2    $118.40
                            regarding Delaware Supreme court
                            case related to ongoing dispute.
   Stafford, Ted            Analysis of impact of proposed court       $513.00     0.3    $153.90
                            order for arbitration.
07/24/2017
   Larson, Jen              Meeting with S. Minars, T. Stafford, R.    $513.00     0.4    $205.20
                            Strahle and J. Letts (Deloitte) to
                            discuss meeting with WEC Board and
                            potential arbitration strategies going
                            forward.




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                        Westinghouse Electric Company
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Litigation
07/24/2017
   Letts, Joshua          Meeting with S. Minars, J. Larson, T.     $340.00     0.4    $136.00
                          Stafford and R. Strahle (Deloitte) to
                          discuss meeting with WEC Board and
                          potential arbitration strategies going
                          forward.
   Minars, Scott          Meeting with J. Larson, T. Stafford, R.   $592.00     0.4    $236.80
                          Strahle and J. Letts (Deloitte) to
                          discuss meeting with WEC Board and
                          potential arbitration strategies going
                          forward.
   Stafford, Ted          Meeting with S. Minars, J. Larson, R.     $513.00     0.4    $205.20
                          Strahle and J. Letts (Deloitte) to
                          discuss meeting with WEC Board and
                          potential arbitration strategies going
                          forward.
07/25/2017
   Cohen, Mark            Review of updated final order and         $592.00     0.3    $177.60
                          judgment of Delaware court regarding
                          post-acquisition dispute provided by
                          Foley.
   Stafford, Ted          Analysis of proposed court order by       $513.00     0.5    $256.50
                          Delaware Supreme court and its effect
                          on the arbitration proceeding
07/26/2017
   Cohen, Mark            Meeting with T. Stafford, J. Letts and    $592.00     0.1     $59.20
                          K. Hommen (Deloitte) to discuss
                          pending bills and incremental work to
                          be performed.
   Hommen, Kelly          Meeting with M. Cohen, T. Stafford and    $340.00     0.1     $34.00
                          J. Letts (Deloitte) to discuss pending
                          bills and incremental work to be
                          performed.
   Letts, Joshua          Meeting with M. Cohen, T. Stafford and    $340.00     0.1     $34.00
                          K. Hommen (Deloitte) to discuss
                          pending bills and incremental work to
                          be performed.
   Stafford, Ted          Meeting with M. Cohen, J. Letts and K.    $513.00     0.1     $51.30
                          Hommen (Deloitte) to discuss pending
                          bills and incremental work to be
                          performed.

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Litigation
07/28/2017
   Minars, Scott                 Review and analysis of the draft            $592.00     0.4     $236.80
                                 Proposed Joint Final Order and
                                 Judgment and comparison to the
                                 Supreme court ruling wording.
   Minars, Scott                 Composed detailed feedback for              $592.00     0.5     $296.00
                                 external counsel per external counsel's
                                 request regarding the proposed joint
                                 final order and judgement.
07/31/2017
   Letts, Joshua                 Meeting with S. Minars, R. Strahle and      $340.00     0.1      $34.00
                                 D. McGonigle (Deloitte) to discuss
                                 Wachtell's response regarding the
                                 Supreme Court ruling as well as near-
                                 term staffing needs.
   McGonigle, David              Analyzed the supreme court final order      $473.00     2.3    $1,087.90
                                 and judgment pertaining to the post-
                                 acquisition dispute going forward
   McGonigle, David              Reviewed the supreme court final            $473.00     0.4     $189.20
                                 order and judgment regarding the post-
                                 acquisition dispute going forward
   McGonigle, David              Meeting with S. Minars, R. Strahle and      $473.00     0.1      $47.30
                                 J. Letts (Deloitte) to discuss Wachtell's
                                 response regarding the Supreme Court
                                 ruling as well as near-term staffing
                                 needs.
   Minars, Scott                 Meeting with R. Strahle, D. McGonigle       $592.00     0.1      $59.20
                                 and J. Letts (Deloitte) to discuss
                                 Wachtell's response regarding the
                                 Supreme Court ruling as well as near-
                                 term staffing needs.
   Stafford, Ted                 Discussion with D. Heffer (Foley)           $513.00     0.2     $102.60
                                 regarding court order for arbitration
   Strahle, Robert               Meeting with S. Minars, D. McGonigle        $513.00     0.1      $51.30
                                 and J. Letts (Deloitte) to discuss
                                 Wachtell's response regarding the
                                 Supreme Court ruling as well as near-
                                 term staffing needs.
   Subtotal for Litigation:                                                             67.2   $36,201.30




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                         Westinghouse Electric Company
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                   Fees Sorted by Category for the Fee Period
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Date                          Description                                 Rate    Hours       Fees

Non-Working Travel
07/05/2017
   Stafford, Ted              Travel from Dallas, TX to NYC, NY for     $256.50     0.5    $128.25
                              meeting with Foley and WEC
07/06/2017
   Stafford, Ted              Travel from NYC, NY to Dallas, TX for     $256.50     3.5    $897.75
                              meeting with Foley and WEC
07/16/2017
   Stafford, Ted              Non-working travel from Dallas, TX to     $256.50     2.0    $513.00
                              Cranberry, PA for Board meeting
07/17/2017
   Cohen, Mark                Non-working travel from New York to       $296.00     8.0   $2,368.00
                              Pittsburgh for Westinghouse Electric
                              Company to attend meeting with WEC
                              and counsel
   Stafford, Ted              Non-working travel from Cranberry, PA     $256.50     6.5   $1,667.25
                              to Dallas for Board meeting
   Subtotal for Non-Working Travel:                                                20.5   $5,574.25

Preparation of Fee Applications
07/12/2017
   Cooper, Carla              Review time reports for May monthly       $350.00     2.0    $700.00
                              fee statement
07/14/2017
   Cooper, Carla              Review May monthly time reports for       $350.00     2.7    $945.00
                              fee statement
07/17/2017
   McGonigle, David           Update April time reports for billing     $473.00     2.8   $1,324.40
                              preparation
   McGonigle, David           Review April time reports for monthly     $473.00     2.1    $993.30
                              fee statements
07/18/2017
   McGonigle, David           Review April time reports for monthly     $473.00     2.6   $1,229.80
                              fee statement
   McGonigle, David           Update May time reports for billing       $473.00     3.0   $1,419.00
                              preparation




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                            Westinghouse Electric Company
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                   Fees Sorted by Category for the Fee Period
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Date                            Description                                  Rate    Hours          Fees

Preparation of Fee Applications
07/21/2017
   Cooper, Carla                Prepare combined monthly fee               $350.00     2.7      $945.00
                                statement for April, 2017 through June,
                                2017
07/24/2017
   Cooper, Carla                Preparation of first combined monthly      $350.00     2.0      $700.00
                                fee statement for the period April, 2017
                                through June, 2017
07/26/2017
   Cooper, Carla                Review monthly time reports for June       $350.00     3.0     $1,050.00
                                fee statement
07/27/2017
   Cooper, Carla                Review June monthly time reports for       $350.00     2.9     $1,015.00
                                fee statement
   Cooper, Carla                Review expense reports for June            $350.00     0.8      $280.00
                                monthly fee statement
07/31/2017
   McGonigle, David             Continue to update time reports for        $473.00     2.1      $993.30
                                June monthly fee statement
   McGonigle, David             Update time reports for June monthly       $473.00     3.0     $1,419.00
                                fee statement
    Subtotal for Preparation of Fee Applications:                                     31.7    $13,013.80
Total                                                                                155.7    $74,648.65




                                           Recapitulation
        Name                                                    Rate        Hours            Fees
        Cohen, Mark                                        $592.00           13.6       $8,051.20
        Donohue, Alycia                                    $592.00            1.0        $592.00
        Minars, Scott                                      $592.00           23.3      $13,793.60
        Stanton, Steven                                    $592.00           17.7      $10,478.40
        Sturiale, Lisa                                     $592.00            2.3       $1,361.60
        Larson, Jen                                        $513.00            1.9        $974.70


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          Fees Sorted by Category for the Fee Period
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                               Recapitulation
Name                                                Rate      Hours           Fees
Stafford, Ted                                  $513.00         14.1       $7,233.30
Strahle, Robert                                $513.00          6.0       $3,078.00
McGonigle, David                               $473.00         34.2      $16,176.60
Cooper, Carla                                  $350.00         16.1       $5,635.00
Hommen, Kelly                                  $340.00          0.9        $306.00
Letts, Joshua                                  $340.00          4.1       $1,394.00
Cohen, Mark                                    $296.00          8.0       $2,368.00
Stafford, Ted                                  $256.50         12.5       $3,206.25




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                            EXHIBIT B




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                        Westinghouse Electric Company
                    Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
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Category                 Date            Description                                            Amount



Airfare
                                         DELTA AIR LINES INC. JACKSONVI Coach class
                                         roundtrip airfare from New York to Pittsburgh for
 Tzavelis, Elias         03/29/2017                                                            $848.93
                                         travel for Westinghouse Electric Company for
                                         client meeting
                                         UNITED AIRLINES JACKSONVI Rondtrip Coach
                                         airfare for travel from Washington D.C. to
 Collins, Bryan          03/30/2017                                                            $548.40
                                         Pittsburgh for Westinghouse Electric Company for
                                         clientmeeting/presentation
                                         UNITED AIRLINES JACKSONVI Coach class
                                         roundtrip airfare for travel from New York to
 Minars, Scott           04/19/2017                                                            $902.90
                                         Pittsburgh for Westinghouse Electric Company for
                                         client service meeting
                                         UNITED AIRLINES JACKSONVI Coach class
                                         roundtrip airfare for travel from New York to
 Sasso, Anthony          04/20/2017                                                            $875.92
                                         Pittsburgh for Westinghouse Electric Company -
                                         client service meetings
Subtotal for Airfare:                                                                         $3,176.15


Ground Transportation
                                         UBER *US APR03 OHH HELP.UBER Taxi for
 Tzavelis, Elias         04/03/2017      Westinghouse Electric Company from New York,           $50.66
                                         New York to LGA for client meeting
                                         GLAZER SERVICES 0000 PITTSBURG Taxi for
 Collins, Bryan          04/04/2017      Westinghouse Electric Company from client              $53.00
                                         location to airportfor meeting/presentation
                                         Z VIP SEDAN & LIMOUS TEMPLE HI Car Service
 Collins, Bryan          04/04/2017      for Westinghouse Electric Company from home to         $74.12
                                         airport for meeting/presentation
                                         UBER *US APR04 2J7 HELP.UBER Taxi for
 Collins, Bryan          04/04/2017      Westinghouse Electric Company from client              $36.21
                                         location to airport for meeting/presentation
                                         MTA EWRLOTCTP/CT 002 NEWARK Parking for
 Minars, Scott           04/04/2017      two days for travel for Westinghouse Electric          $78.00
                                         Company for client service meeting


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                      Westinghouse Electric Company
                   Deloitte Financial Advisory Services LLP
           Expenses Sorted by Category for the Fee Period
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Category               Date            Description                                           Amount



Ground Transportation
                                       Z VIP SEDAN & LIMOUS TEMPLE HI Taxi for
 Collins, Bryan        04/05/2017      Westinghouse Electric Company from airport to         $75.21
                                       office
                                       CAREY WASHINGTO Car Service for
 Minars, Scott         04/05/2017      Westinghouse Electric Company from PIT to hotel       $83.40
                                       for client service meeting
                                       CAREY WASHINGTO Car Service for
 Tzavelis, Elias       04/05/2017      Westinghouse Electric Company from client to          $83.40
                                       PIT airport for client service meeting
                                       UBER *US APR04 TQK HELP.UBER Taxi for
 Tzavelis, Elias       04/05/2017      Westinghouse Electric Company from LGA to             $33.48
                                       home for clientservices meeting
                                       CAREY WASHINGTO Car Service for
 Minars, Scott         04/06/2017      Westinghouse Electric Company from client LGA        $197.44
                                       to EWR for client service meeting
                                       EMPIRE INTERNATIONAL Secaucus Car Service
 Sasso, Anthony        04/24/2017      for Westinghouse Electric Company - to Newark        $109.90
                                       Airport
                                       AVIS RENT A CAR PITTSBURG Auto Rental for
 Minars, Scott         04/26/2017      one day for Westinghouse Electric Company for        $118.06
                                       client service meeting
                                       MTA EWRLOTCTP/CT 002 NEWARK Parking for
 Minars, Scott         04/26/2017      two days for travel for Westinghouse Electric         $98.00
                                       Company for client service meeting
                                       EMPIRE INTERNATIONAL Secaucus Car Service
 Sasso, Anthony        04/26/2017      for Westinghouse Electric Company return to          $118.45
                                       Colts Neckfrom Newark airport
Subtotal for Ground
Transportation:                                                                            $1,209.33


Hotel
                                       WESTIN CONV CTR PITT PITTSBURG Hotel
 Minars, Scott         04/03/2017      stay for travel for Westinghouse Electric Company    $178.98
                                       for client service meeting


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Category                  Date            Description                                           Amount



Hotel
                                          WESTIN CONV CTR PITT PITTSBURG Hotel
 Tzavelis, Elias          04/03/2017      stay for travel for Westinghouse Electric Company    $204.06
                                          for client service meeting
                                          PITTSBURGH NORTH AT CRANBERRY Hotel
 Minars, Scott            04/24/2017      stay for travel for Westinghouse Electric Company    $158.73
                                          for client service meeting
                                          PITTSBURGH NORTH AT CRANBERRY Hotel
 Sasso, Anthony           04/24/2017                                                           $158.73
                                          stay for travel for Westinghouse Electric Company
                                          PITTSBURGH NORTH AT CRANBERRY Hotel
 Minars, Scott            04/25/2017      stay for travel for Westinghouse Electric Company    $158.73
                                          for client service meeting
                                          PITTSBURGH NORTH AT CRANBERRY Hotel
 Sasso, Anthony           04/25/2017                                                           $158.73
                                          stay for travel for Westinghouse Electric Company
Subtotal for Hotel:                                                                           $1,017.96


Meals
                                          BILL BAR BGR PIT 00A PITTSBURG Lunch
                                          during travel for Westinghouse Electric Company
 Minars, Scott            04/03/2017                                                            $25.00
                                          for client services meeting ATTENDEES: Scott
                                          Minars
                                          DULLESAIRAUBONPAIN26 STERLING Breakfast
                                          during travel for Westinghouse Electric Company
 Collins, Bryan           04/04/2017                                                             $2.28
                                          for meeting/presentation ATTENDEES: Bryan
                                          Collins
                                          CHICK FIL A 65000000 PITTSBURG Dinner
                                          during travel for Westinghouse Electric Company
 Collins, Bryan           04/04/2017                                                             $7.76
                                          formeeting/presentation ATTENDEES: Bryan
                                          Collins
                                          CRAZY MOCHA WINTERGA Pittsburg breakfast
                                          during travel for Westinghouse Electric Company
 Collins, Bryan           04/04/2017                                                             $2.03
                                          formeeting/presentation ATTENDEES: Bryan
                                          Collins




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Category                  Date            Description                                              Amount



Meals
                                          TGI FRIDAYS #1500 00 PITTSBURG Dinner
                                          during travel for Westinghouse Electric Company
 Tzavelis, Elias          04/04/2017                                                                $50.00
                                          for client services meeting ATTENDEES: Elias
                                          Tzavelis,Scott Minars
                                          WESTIN CONV CTR PITT PITTSBURG Breakfast
                                          for travel for Westinghouse Electric Company for
 Tzavelis, Elias          04/04/2017                                                                $15.00
                                          client service meeting ATTENDEES: Elias
                                          Tzavelis
                                          LA MADELEINE #052 00 DALLAS Business lunch
 Johnston, Josh           04/11/2017      while attending conference call ATTENDEES:                $10.06
                                          Josh Johnston
                                          UNITED CLUB DFW LIQU DFW AIRPO Lunch
 Minars, Scott            04/21/2017      during travel for Westinghouse Electric Company           $17.24
                                          ATTENDEES: Scott Minars
                                          GROVE EWR THE GROVE NEWARK Breakfast
 Sasso, Anthony           04/24/2017      during travel for Westinghouse Electric Company            $4.76
                                          ATTENDEES: Anthony Sasso
                                          PITTSBURGH NORTH AT CRANBERRY Dinner
                                          while traveling for Westinghouse Electric
 Minars, Scott            04/25/2017                                                                $25.00
                                          Company for client service meeting ATTENDEES:
                                          Scott Minars
                                          PITTSBURGH NORTH AT CRANBERRY
                                          Breakfast for travel for Westinghouse Electric
 Minars, Scott            04/26/2017                                                                 $7.63
                                          Company for client service meeting ATTENDEES:
                                          Scott Minars
                                          MARRIOTT PITTSBURGH- CRANBERRY
 Sasso, Anthony           04/26/2017      Breakfast during travel for Westinghouse Electric         $14.46
                                          Company ATTENDEES: Anthony Sasso
                                          QUAKER STEAK & LUBE PITTSBURG Dinner
 Sasso, Anthony           04/26/2017      during travel for Westinghouse Electric Company           $50.00
                                          ATTENDEES: Anthony Sasso,Scott Minars
Subtotal for Meals:                                                                                $231.22




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                     Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
                                     March 29, 2017 - April 30, 2017



Category                   Date            Description                                           Amount



Telephone, Conference
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             04/04/2017                                                             $2.23
                                           meeting
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             04/04/2017                                                             $0.18
                                           meeting
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             04/06/2017                                                             $2.30
                                           meeting
                                           CONFERENCING 0848700 800-47506 for client
 Minars, Scott             04/06/2017                                                             $2.90
                                           meeting
Subtotal for Telephone,
Conference:                                                                                       $7.61
Total                                                                                          $5,642.27




                                         Recapitulation
           Category                                                                Amount

           Airfare                                                              $3,176.15

           Ground Transportation                                                $1,209.33

           Hotel                                                                $1,017.96

           Meals                                                                   $231.22

           Telephone, Conference                                                       $7.61




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                        Westinghouse Electric Company
                    Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
                                      June 01, 2017 - June 30, 2017




Category                 Date             Description                                         Amount



Airfare
                                          SOUTHWEST AIRLINES DALLAS Coach class
                                          roundtrip airfare for travel for Westinghouse
 Stafford, Ted           06/13/2017                                                           $457.97
                                          Electric Company for meeting with Westinghouse
                                          and Foley on progress of arbitration proceedings
                                          UNITED AIRLINES JACKSONVILLE Coach class
 Larson, Jen             06/19/2017       roundtrip airfare for Westinghouse for team         $327.44
                                          meeting
Subtotal for Airfare:                                                                         $785.41


Ground Transportation
                                          Lyft Taxi for Westinghouse Electric Company from
 Stafford, Ted           06/21/2017                                                            $32.09
                                          LGA to Hotel for meeting with Foley and WEC.
                                          LYFT *RIDE WED 3PM SAN FRANC Taxi for
 Stafford, Ted           06/21/2017       Westinghouse Electric Company from Home to           $20.01
                                          Dallas for meeting with Foley and WEC
                                          LYFT *RIDE WED 3PM SAN FRANC Taxi for
 Stafford, Ted           06/21/2017       Westinghouse Electric Company from Home to            $2.00
                                          Dallas for meeting with Foley and WEC
                                          PARKFAST 022 NEWARK Parking for travel for
 Cohen, Mark             06/22/2017       Westinghouse Electric Company for meeting            $15.00
                                          inNYC with WEC personnel and counsel
                                          662 10TH AVENUE MGM NEW YORK Taxi for
 Larson, Jen             06/22/2017       Westinghouse from airport to Foley for team          $63.07
                                          meeting
                                          NYC TAXI - VERIFONE LONG ISAL Taxi for
 Larson, Jen             06/22/2017       Westinghouse from airport to Foley for team          $51.67
                                          meeting
                                          Lyft Taxi for Westinghouse Electric Company from
 Stafford, Ted           06/22/2017                                                            $23.37
                                          DAL to home for meetingswith Foley and WEC
                                          LYFT *RIDE WED 9PM SAN FRANC Taxi for
 Stafford, Ted           06/22/2017       Westinghouse Electric Company from Foley to          $17.09
                                          LGA for meeting with Foley and WEC




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                        Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
                                       June 01, 2017 - June 30, 2017



Category                  Date             Description                                             Amount



Ground Transportation
                                           LYFT *RIDE THU 6PM SAN FRANC Taxi for
 Stafford, Ted            06/22/2017       Westinghouse Electric Company from Dallas to             $23.37
                                           home for meeting with Foley and WEC
                                           VITAL TRANSPORTATIONBROOKLYN Car
 Strahle, Robert          06/22/2017       Service for Westinghouse Electric Company from          $188.60
                                           client meeting to home
                                           CONCORDE WORLDWIDE C FREEHOLD Car
 Strahle, Robert          06/23/2017       Service for Westinghouse Electric Company from          $282.77
                                           home to meeting in NYC
                                           FLYTE TYME WORLDWIDE MAHWAH Car
 Larson, Jen              06/26/2017       Service for Westinghouse Electric Company from           $97.54
                                           home to airport for NYC meeting
                                           FLYTE TYME WORLDWIDE MAHWAH Car
 Larson, Jen              06/26/2017       Service for Westinghouse Electric Company from          $105.54
                                           airport to home for NYC meeting
Subtotal for Ground
Transportation:                                                                                    $922.12


Hotel
                                           NEW YORK EASTSIDE MA NEW YORK Hotel
                                           stay for one night travel for Westinghouse Electric
 Strahle, Robert          06/21/2017                                                               $350.00
                                           Company meeting with client in NYC (capped at
                                           $350)
                                           WESTIN NY GRAND CENT NEW YORK Hotel
                                           stay for travel for one night Westinghouse Electric
 Stafford, Ted            06/22/2017                                                               $350.00
                                           Company for meeting with Foley and WEC
                                           (capped at $350)
Subtotal for Hotel:                                                                                $700.00


InternetAccess while Traveling
                                           SWA INFLIGHT WIFI WESTLAKE Internet
 Stafford, Ted            06/21/2017       Access while traveling for Westinghouse Electric          $8.00
                                           Company for meeting with Foley and WEC


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                        Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
                                       June 01, 2017 - June 30, 2017



Category                  Date              Description                                                  Amount



InternetAccess while Traveling
                                            SWA INFLIGHT WIFI WESTLAKE Internet
 Stafford, Ted            06/22/2017        Access while traveling for Westinghouse Electric              $8.00
                                            Company for meeting with Foley and WEC
Subtotal for
InternetAccess while
Traveling:                                                                                               $16.00


Meals
                                            HUDSONNEWS ST27 000 FLUSHING Dinner
                                            during travel for Westinghouse Electric Company
 Stafford, Ted            06/22/2017                                                                      $7.73
                                            for meeting with Foley and WEC. ATTENDEES:
                                            Ted Stafford
Subtotal for Meals:                                                                                       $7.73
Total                                                                                                  $2,431.26




                                            Recapitulation
           Category                                                                       Amount

           Ground Transportation                                                         $922.12

           Airfare                                                                       $785.41

           Hotel                                                                         $700.00

           InternetAccess while Traveling                                                 $16.00

           Meals                                                                               $7.73


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                        Westinghouse Electric Company
                    Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
                                      July 01, 2017 - July 31, 2017




Category                 Date            Description                                              Amount



Airfare
                                         SOUTHWEST AIRLINES ( Roundtrip Coach class
                                         airfare for travel for Westinghouse Electric
 Stafford, Ted           07/04/2017                                                              $317.96
                                         Company for meeting with Foley and WEC from
                                         Dallas, Tx to NYC, NY)
                                         UNITED AIRLINES JACKSONVILLE Roundtrip
                                         Coach class airfare from New York to Pittsburgh
 Minars, Scott           07/10/2017                                                              $784.02
                                         for travel for Westinghouse Electric Company for
                                         Client service meeting
                                         UNITED AIRLINES JACKSONVILLE Roundtrip
                                         Coach class Coach class airfare for travel from
 Cohen, Mark             07/11/2017      New York to Pittsburgh for Westinghouse Electric        $957.90
                                         Company for travel to Pittsburgh to attend meeting
                                         with WEC and counsel
                                         UNITED AIRLINES JACKSONVILLE Change fee
                                         for Roundtrip Coach class airfare from New York
 Minars, Scott           07/11/2017      to Pittsburgh for travel for Westinghouse Electric      $247.82
                                         Company for client service meeting due to change
                                         in timing of the meeting.
                                         AMERICAN AIRLINES IN JACKSONVI Roundtrip
                                         Coach class airfare for travel from Dallas, Tx to
 Stafford, Ted           07/12/2017                                                              $232.75
                                         Pittsburgh, PA for Westinghouse Electric
                                         Company for meeting with Foley and WEC
Subtotal for Airfare:                                                                           $2,540.45


Ground Transportation
                                         LYFT *RIDE WED 10P Taxi for Westinghouse
 Stafford, Ted           07/05/2017      Electric Company from LGA to hotel for meeting           $29.00
                                         with Foley and WEC
                                         LYFT *RIDE WED 3PM Taxi for Westinghouse
 Stafford, Ted           07/05/2017      Electric Company from home to DAL for meeting            $20.18
                                         with Foley and WEC
                                         AMTRAK WASHINGTON Train Business class
 Stanton, Steven         07/05/2017                                                              $322.00
                                         ticket from BWI to NY Penn for client meeting



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                     Westinghouse Electric Company
                   Deloitte Financial Advisory Services LLP
           Expenses Sorted by Category for the Fee Period
                                    July 01, 2017 - July 31, 2017



Category               Date            Description                                             Amount



Ground Transportation
                                       AMTRAK WASHINGTON Train Business class
 Stanton, Steven       07/05/2017      ticket for dispute consulting from NY Penn to BWI       $194.00
                                       for client meeting
                                       LAZ PARKING 240 NEW YORK Second parking
 Minars, Scott         07/06/2017      for Westinghouse Electric Company at Manhattan           $25.00
                                       for client meeting
                                       JTL MANAGEMENT JTL M LONG ISLA Taxi for
 Stafford, Ted         07/06/2017      Westinghouse Electric Company from meeting to            $38.47
                                       LGA for meeting with Foley and WEC
                                       LYFT *RIDE WED 10P Taxi for Westinghouse
 Stafford, Ted         07/06/2017      Electric Company from LGA to hotel for meeting            $2.00
                                       with Foley and WEC
                                       32754 - BWI RAIL STA BALTIMORE Parking for
 Stanton, Steven       07/06/2017                                                                $9.00
                                       travel for dispute consulting for client meeting
                                       LYFT *RIDE THU 7PM Taxi for Westinghouse
 Stafford, Ted         07/07/2017      Electric Company from DAL to home for                    $17.19
                                       meetingwith Foley and WEC
                                       LYFT *RIDE SUN 6PM Taxi for Westinghouse
 Stafford, Ted         07/16/2017      Electric Company from home to DAL for meeting            $18.72
                                       with Foley and WEC
                                       Auto tolls for Westinghouse Electric Company for
                                       travel to Newark airport for travel to Pittsburgh to
 Cohen, Mark           07/17/2017                                                                $8.00
                                       attend WEC board meeting and meeting with
                                       counsel and WEC personnel
                                       MTA EWRLOTCTP/CT 002 NEWARK Parking for
                                       one day for travel for Westinghouse Electric
 Cohen, Mark           07/17/2017                                                               $39.00
                                       Company for travel to Pittsburgh to attend meeting
                                       with counsel and client and WEC boardmeeting
                                       AVIS RENT A CAR PITTSBURG Auto Rental for
 Minars, Scott         07/17/2017      Westinghouse Electric Company for client service         $59.69
                                       meeting
                                       ZTRIP Taxi for Westinghouse Electric Company
 Stafford, Ted         07/17/2017      from Pittsburgh airport to hotel for Board meeting       $26.40
                                       preparation with Foley and WEC




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                        Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
                                       July 01, 2017 - July 31, 2017



Category                  Date            Description                                         Amount



Ground Transportation
                                          GLOBAL LIMO &TAXI S Arlington Taxi for
                                          Westinghouse Electric Company from Dallas Love
 Stafford, Ted            07/18/2017                                                           $73.02
                                          Field airport to home for Board meeting
                                          preparation with Foley and WEC
Subtotal for Ground
Transportation:                                                                               $881.67


Hotel
                                          WESTIN NY GRAND CENT NEW YORK Hotel
 Stafford, Ted            07/06/2017      stay for travel for Westinghouse Electric Company   $346.61
                                          for meeting with Foley and WEC
                                          SHERATON PITTSBURGH CORAOPLIS Hotel
 Stafford, Ted            07/16/2017      stay for travel for Westinghouse Electric Company   $125.01
                                          for meeting with Foley and WEC
Subtotal for Hotel:                                                                           $471.62


Meals
                                          LAGUARDIAAUBONPAIN72 NEW YORK Dinner
                                          during travel for Westinghouse Electric Company
 Stafford, Ted            07/05/2017                                                           $13.15
                                          for meeting with Foley and WEC ATTENDEES:
                                          Ted Stafford
                                          HYO DONG GAK 0000000 NEW YORK Dinner
 Stanton, Steven          07/06/2017      during travel for client meeting ATTENDEES:          $21.95
                                          Steven Stanton
                                          BWI TRAIN STATION #1 BALTIMORE Breakfast
 Stanton, Steven          07/06/2017      during travel for client meeting ATTENDEES:          $11.31
                                          Steven Stanton
                                          LGAAIRPORTRESTAURANT JAMAICA Dinner
                                          during travel for Westinghouse Electric Company
 Stafford, Ted            07/07/2017                                                           $34.58
                                          for meeting with Foley and WEC ATTENDEES:
                                          Ted Stafford




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                        Westinghouse Electric Company
                      Deloitte Financial Advisory Services LLP
           Expenses Sorted by Category for the Fee Period
                                       July 01, 2017 - July 31, 2017



Category                  Date            Description                                              Amount



Meals
                                          CANTINA LAREDO DLF 0 DALLAS Dinner during
                                          travel for Westinghouse Electric Company for
 Stafford, Ted            07/16/2017                                                                $22.23
                                          Board meeting preparation with Foley and WEC
                                          ATTENDEES: Ted Stafford
                                          SHERATON PITTSBURGH CORAOPLIS
                                          Breakfast for travel for Westinghouse Electric
 Stafford, Ted            07/16/2017                                                                $15.00
                                          Company for meeting with Foley and WEC
                                          ATTENDEES: Ted Stafford
                                          MARTINI BAR 0067 PITTSBURG Dinner during
                                          travel for Westinghouse Electric Company for
 Cohen, Mark              07/17/2017      travel to Pittsburgh to attend meeting with counsel,     $138.56
                                          WEC personnel and WEC board ATTENDEES:
                                          Mark Cohen,Scott Minars,Ted Stafford
                                          TGI FRIDAYS PITTSBURG Lunch during travel
                                          for Westinghouse Electric Company for client
 Minars, Scott            07/17/2017                                                                $50.00
                                          service meeting ATTENDEES: Scott Minars,Mark
                                          Cohen
                                          HUDSON NEWS ST421 00 PITTSBURG
                                          Breakfast during travel for Westinghouse Electric
 Stafford, Ted            07/17/2017                                                                 $4.98
                                          Company for Board meeting preparation with
                                          Foley and WEC ATTENDEES: Ted Stafford
                                          STARBUCKS BAG 681516 PITTSBURG Lunch
                                          during travel for Westinghouse Electric Company
 Minars, Scott            07/18/2017                                                                 $8.03
                                          for client service meeting ATTENDEES: Scott
                                          Minars,Mark Cohen
Subtotal for Meals:                                                                                $319.79


Telephone, Conference
                                          CONFERENCING 0848700 800-47506 for client
 Minars, Scott            07/09/2017                                                                 $0.16
                                          meeting
                                          CONFERENCING 0848700 800-47506 for client
 Minars, Scott            07/10/2017                                                                 $1.25
                                          meeting




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                          Westinghouse Electric Company
                     Deloitte Financial Advisory Services LLP
            Expenses Sorted by Category for the Fee Period
                                        July 01, 2017 - July 31, 2017



Category                   Date            Description                                           Amount



Telephone, Conference
                                           CONFERENCING 0848700 800-47506 for client
 Sturiale, Lisa            07/27/2017                                                             $1.61
                                           meeting
Subtotal for Telephone,
Conference:                                                                                       $3.02
Total                                                                                          $4,216.55




                                          Recapitulation
           Category                                                                Amount

           Airfare                                                              $2,540.45

           Ground Transportation                                                   $881.67

           Hotel                                                                   $471.62

           Meals                                                                   $319.79

           Telephone, Conference                                                       $3.02




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                            EXHIBIT C




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 Deloitte Financial Advisory Services LLP
 555 12th Street NW Suite 400
 Washington, DC 20004-1207
 Telephone: 202.220.2120
 Facsimile: 855.405.2590
 Steven Stanton

 Financial Advisory Services Provided
 --------------------------------------------------------------- |
 In re:                                                          |
                                                                 | Chapter 11
 WESTINGHOUSE ELECTRIC COMPANY                                   |
 LLC, et al., 1                                                  | Case No. 17-10751 (MEW)
                                   Debtors.                      |
                                                                 | (Jointly Administered)
 --------------------------------------------------------------- |

     CERTIFICATION UNDER GUIDELINES FOR FEES AND DISBURSEMENTS
    FOR PROFESSIONALS IN RESPECT OF FIRST INTERIM FEE APPLICATION
 OF DELOITTE FINANCIAL ADVISORY SERVICES LLP FOR COMPENSATION FOR
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
  AS FINANCIAL ADVISORY SERVICES PROVIDER TO THE DEBTORS FOR THE
               PERIOD MARCH 29, 2017 THROUGH JULY 31, 2017
 Steven Stanton, deposes and says:
                     1.        I am a managing director of Deloitte Financial Advisory Services LLP
 (“Deloitte FAS”), which has an office located at 555 12th Street NW, Suite 400, Washington, DC
 20004. I make this certification in connection with the first interim application (the “Application”)
 of Deloitte FAS, in the above-captioned debtors’ (the “Debtors”) chapter 11 cases.
                     2.        I submit this certification with respect to Deloitte FAS’s compliance with
 and pursuant to the Court’s General Order M-447, the Amended Guidelines for Fees and
 Disbursements for Professionals in the Southern District of New York adopted by the Court on
 November 25, 2009 (the “Local Guidelines”), and the United States Trustee Guidelines for
 Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C.

 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, if any,
 are: Westinghouse Electric Company LLC (0933), CE Nuclear Power International, Inc. (8833), Fauske and Associates LLC
 (8538), Field Services, LLC (2550), Nuclear Technology Solutions LLC (1921), PaR Nuclear Holding Co., Inc. (7944), PaR
 Nuclear, Inc. (6586), PCI Energy Services LLC (9100), Shaw Global Services, LLC (0436), Shaw Nuclear Services, Inc. (6250),
 Stone & Webster Asia Inc. (1348), Stone & Webster Construction Inc. (1673), Stone & Webster International Inc. (1586), Stone
 & Webster Services LLC (5448), Toshiba Nuclear Energy Holdings (UK) Limited (N/A), TSB Nuclear Energy Services Inc. (2348),
 WEC Carolina Energy Solutions, Inc. (8735), WEC Carolina Energy Solutions, LLC (2002), WEC Engineering Services Inc.
 (6759), WEC Equipment & Machining Solutions, LLC (3135), WEC Specialty LLC (N/A), WEC Welding and Machining, LLC
 (8771), WECTEC Contractors Inc. (4168), WECTEC Global Project Services Inc. (8572), WECTEC LLC (6222), WECTEC
 Staffing Services LLC (4135), Westinghouse Energy Systems LLC (0328), Westinghouse Industry Products International
 Company LLC (3909), Westinghouse International Technology LLC (N/A), and Westinghouse Technology Licensing Company
 LLC (5961). The Debtors’ principal offices are located at 1000 Westinghouse Drive, Cranberry Township, Pennsylvania 16066.
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 330, effective January 30, 1996 (the “UST Guidelines”) (collectively, and with the Order to
 Establish Procedures for Interim Compensation and Reimbursement of Expenses of Professionals
 entered in these cases on May 24, 2017 (the “Compensation Order”) the “Guidelines”).
               3.       In compliance with the Guidelines, I hereby certify that:

                        a.     I have read the Application and am familiar with the services for

               which compensation is being sought that are described therein;

                        b.     To the best of my knowledge, information and belief, the fees and

               disbursement sought in the Application are in substantial compliance with the

               Guidelines.

                        c.     The fees and disbursements sought in the Application are billed at

               rates or in accordance with practice customarily employed by Deloitte FAS for

               similar services and generally accepted by Deloitte FAS’s clients.

                        d.     Deloitte FAS has not made a profit with respect to the expenses

               requested in the Application.

                        e.     No agreement or understanding exists between Deloitte FAS and

               any other non-affiliated person or persons for the sharing of compensation received

               or to be received for professional services rendered in or in connection with these

               cases.

                        f.     Deloitte FAS has not entered into any agreement with the office of

               the United States Trustee, the Debtors, any creditor or any other party in interest,

               for the purpose of fixing the amount of any of the fees or other compensation

               allowed out of or paid from the assets of the Debtors.

                        g.     Copies of the Application were provided to the appropriate parties

               on or about the date set for the filing of applications by the Compensation Order.


                                               ___________________________________
                                               Steven Stanton
                                               Managing Director

 Dated: September 14, 2017


                                                  2
